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            UNITED STATES BANKRUPTCY COURT
             SOUTHERN DISTRICT OF FLORIDA
                    MIAMI DIVISION
                CASE NO: 16-25954-LMI
                       CHAPTER 7

IN RE:

JORGE HANE,

        Debtor.
_____________________________/
COLTEFINANCIERA, S.A. and
BLUE BANK INTERNATIONAL, N.V.,

         Plaintiff,

vs.

JORGE HANE,

        Defendant.
_______________________________/

   **CONFIDENTIAL AS PER THE PROTECTIVE ORDER**

      DEPOSITION OF CARLOS JULIO CARIDAD ZAMBRANO

                         VOLUME 01
                    Pages 1 Through 125

                Friday, February 2, 2018
                  9:50 a.m. - 3:30 p.m.

            Hoffman, Larin & Agnetti, P.A.
      909 North Miami Beach Boulevard, Suite 201
              North Miami, Florida 33162


             Stenographically Reported By:
                 Aurora C. Sloan, FPR



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 1    APPEARANCES:                                                    1    Thereupon, the following proceedings began at
 2                                                                    2    9:50 a.m.:
 3    On behalf of the Plaintiff:
 4      Recor Rieber, P.A.                                            3            THE COURT REPORTER: Raise your right
        701 Brickell Avenue, Suite 2280                               4         hand, please.
 5      Miami, Florida 33131                                          5            Do you solemnly swear to interpret
        305-988-8002
 6      BY: Brian Recor, Esquire                                      6         from English to Spanish and from Spanish to
        Brian@recorrieber.com                                         7         English to the best of your ability?
 7                                                                    8            THE INTERPRETER: I do.
 8
      On behalf of the Defendant:                                     9            THE COURT REPORTER: Do you solemnly
 9                                                                   10         swear or affirm the testimony you are about
         Hoffman, Larin & Agnetti, P.A.                              11         to give in this matter will be the truth,
10       909 North Miami Beach Boulevard, Suite 201
         North Miami Beach, Florida 33162-3712                       12         the whole truth and nothing but the truth.
11       305-653-5555                                                13            THE WITNESS: Yes, I do.
         BY: Michael S. Hoffman, Esquire                             14    Thereupon,
12       Mshoffman@hlalaw.com
13                                                                   15           CARLOS JULIO CARIDAD ZAMBRANO,
14    ALSO PRESENT:                                                  16    having been first duly sworn or affirmed, was
       Edgar Chacon, Spanish Interpreter, Pages 4-72
15     Gustavo Lairet, Spanish Interpreter, Pages 72-125
                                                                     17    examined and testified as follows:
16                                                                   18              DIRECT EXAMINATION
17                                                                   19    BY MR. HOFFMAN:
18
19
                                                                     20          Q. Good morning. Please state your full
20                                                                   21    name.
21                                                                   22         A. Carlos Julio Caridad Zambrano.
22
23                                                                   23          Q. Can you give me the spelling?
24                                                                   24         A. C-A-R-I-D-A-D.
25                                                                   25          Q. Okay. The full name.

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 1           INDEX OF PROCEEDINGS                                     1          A. Z-A-M-B-R-A-N-O.
 2   TESTIMONY OF CARLOS JULIO CARIDAD ZAMBRANO             Page
 3   DIRECT EXAMINATION BY MR. HOFFMAN            4
                                                                      2              Carlos, C-A-R-L-O-S. Julio,
 4   CERTIFICATE OF OATH (INTERPRETER)        126                     3     J-U-L-I-O.
 5   CERTIFICATE OF OATH (INTERPRETER)        127                     4          Q. Got it.
 6   CERTIFICATE OF OATH               128                            5              Have you ever had your deposition
 7   CERTIFICATE OF REPORTER              129
 8                                                                    6     taken before?
 9           PLAINTIFF EXHIBITS                                       7          A. Never.
     EXHIBITS:        DESCRIPTION              PAGE                   8              MR. RECOR: Before we begin, I just
10
                   NONE                                               9          want to state on the record that the
11                                                                   10          deposition is being taken under the terms
12              DEFENDANT EXHIBITS                                   11          of the protective order that was entered in
     EXHIBITS:              DESCRIPTION        PAGE
13   Defendant's No. 1 Notice of Taking         12
                                                                     12          this case on January 25th, 2018.
                  Deposition                                         13              MR. HOFFMAN: That's fine.
14   Defendant's No. 2 10-27-15 Email           30                   14     BY MR. HOFFMAN:
     Defendant's No. 3 11-5 Email             58
15   Defendant's No. 4 Email Chain             60
                                                                     15          Q. I want to give you some basic rules of
     Defendant's No. 5 $200,000 Wire Transfer       70               16     depositions so you understand the process.
16                Document                                           17              I'm going to ask the questions, the
     Defendant's No. 6 Credit Application        82
17   Defendant's No. 7 Emails               86
                                                                     18     translator is going to translate, you are going to
     Defendant's No. 8 Commitment Letter          108                19     provide the answers. The court reporter is going
18   Defendant's No. 9 Protective Order        125                   20     to write everything down.
19
20
                                                                     21              It's important that you let me finish
21                                                                   22     my question and the translator finish the
22                                                                   23     translation before you answer.
23                                                                   24              It's also important that you answer
24
25                                                                   25     every question verbally and not with any head


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 1    shakes or nods, because it needs to make it back to      1           Q. So let me restate that and tell me if
 2    the court reporter.                                      2     I'm right.
 3         A. All right.                                       3              You were working on behalf of Blue
 4         Q. I'm going to try to be as clear as               4     Bank in a compliance role.
 5    possible. But if you don't understand my question,       5           A. Not specifically in the area of
 6    ask me to clarify. Okay?                                 6     mandatory regulations. We had other projects like
 7         A. All right.                                       7     internet banking, correspondent banks and
 8         Q. Last thing, the deposition is under              8     everything that applied. Improvements in the
 9    oath and penalty of perjury.                             9     operations area of the bank.
10         A. All right.                                      10           Q. Did you work with customers of Blue
11         Q. Where do you live?                              11     Bank?
12         A. I live in Curaçao.                              12           A. Not all the time. But I did have
13         Q. And how long have you lived in                  13     contacts with customers sometimes in the transfer
14    Curaçao?                                                14     of funds, whenever they had problems, when any
15         A. It's been 23 years.                             15     problems with transfers, and I checked everything
16         Q. And what is your job title?                     16     that had to do with operations of the bank.
17         A. I'm a managing director.                        17              On several occasions, I mean, even
18         Q. For what entity?                                18     though it was not my job, I did have contacts with
19         A. It's called Blue Bank International.            19     some clients, I mean because of the natural
20         Q. How long have you been a managing               20     operations of the bank, as an example, transfers.
21    director with Blue Bank International?                  21           Q. Okay.
22         A. Since the month of May, 2017 when it            22              Did you work in the lending department
23    was approved by the Central Bank in Curaçao.            23     at all?
24         Q. So let me just get this clear.                  24           A. No.
25            Your employment as a managing director          25           Q. Did you help manage any loan accounts?


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 1    was approved by the government or by the agency in       1           A. I supervised portfolios which was to
 2    Curaçao?                                                 2     be reported to the Central Bank to the accounting
 3         A. I worked with the group since                    3     area.
 4    August of 2016. But starting in the month of May,        4              And in my previous job, I mean, I had
 5    I was approved by the Central Bank of Curaçao to         5     a lot of knowledge in the process of credit, in the
 6    perform at functions as managing director, which         6     credit department as such.
 7    was a mandatory requisite or requirement to be able      7           Q. Did you assist the bank in making
 8    to perform that function.                                8     credit decisions?
 9         Q. So to be clear, you began your                   9           A. Currently? Yes.
10    employment with Blue Bank in August of 2016?            10              Now between August and May? No.
11         A. Correct.                                        11           Q. So from May of 2017 through the
12         Q. When I say "Blue Bank," I mean Blue             12     present, you stated that you are a managing
13    Bank International?                                     13     director; correct?
14         A. All right.                                      14           A. Correct.
15         Q. What was your position with Blue Bank           15           Q. How many managing directors of Blue
16    from August 2016 through May of 2017?                   16     Bank are there?
17         A. I was in charge of the area of                  17           A. Three. There is a local one, which is
18    operations helping out in some special projects         18     me. That's what the regulating entity requires,
19    that we had.                                            19     which is the Central Bank.
20         Q. Please give me a more detailed                  20           Q. Who do you report to as a managing
21    description of your job duties when you worked in       21     director?
22    operations from August 2016 to May of 2017.             22           A. We have a directors' board, which is
23         A. I was in charge of setting up                   23     composed by the three managing directors, and the
24    platforms and the mandatory regulations in the area     24     three supervising directors.
25    of mandatory regulations.                               25           Q. So do you report to the three


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 1    supervising directors?                                   1    strike that.
 2           A. My responsibility to report is to the          2             So you are not familiar with Blue Bank
 3    Central Bank.                                            3    -- strike that.
 4           Q. Is there a person that you report to?          4             (Thereupon, Defendant's No. 1, Notice
 5           A. No. No, because the bank reports,              5          of Taking Deposition, was marked for
 6    just like all the financial institutions in              6          Identification.)
 7    Curaçao, through the departments that are assigned       7    BY MR. HOFFMAN:
 8    by the Central Bank.                                     8          Q. I'm showing you a copy of the notice
 9           Q. Do you have a supervisor?                      9    of deposition which has been marked as Exhibit 1.
10           A. I do have contacts with all the               10             Can you read English?
11    directors, all positions are consulted.                 11          A. Yes.
12           Q. Tell me about the supervising                 12          Q. Have you seen this document before?
13    directors. What's their job?                            13          A. Yes.
14           A. All the supervising directors and all         14          Q. Do you understand that you are here
15    the managing directors were obligated to have all       15    today to give answers on behalf of Blue Bank?
16    the decisions and obligations of the bank are done      16          A. Yes.
17    and made through -- I mean through the -- complying     17          Q. So are you the person most familiar
18    with the decisions of the Central Bank of Curaçao.      18    with the loans issued by Blue Bank to Jorgehane
19           Q. I don't think that answered the               19    Laboratories Corp.?
20    question.                                               20          A. Could you please repeat the question?
21              You said there were three supervising         21          Q. Are you the person at Blue Bank most
22    directors; correct?                                     22    familiar with the loans issued by Blue Bank to
23           A. Yes.                                          23    Jorgehane Laboratories Corp.?
24           Q. Who are they and what is their job?           24          A. With all the portfolios, I mean, of
25           A. There are three. Mr. Camargo --               25    the bank? Yes. Not specifically with this loan.


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 1          Q. I need spellings on all of those.               1     And with the credit director in the bank.
 2              THE INTERPRETER: Would you like me to          2          Q. Okay.
 3          spell it?                                          3              Are you -- do you have specific
 4              C-A-M-A-R-G-O.                                 4     familiarity with the loans issued by Blue Bank to
 5    BY MR. HOFFMAN:                                          5     Mr. Hané's businesses?
 6          Q. Okay.                                           6          A. Yes, I do have knowledge.
 7          A. Geringes, G-E-R-I-N-G-E-S; and the              7          Q. You do.
 8    last one is Camile River, C-A-M-I-L-E R-I-V-E-R          8              Do you have knowledge about the
 9    currently.                                               9     process that Blue Bank went through in order to
10          Q. Before August of 2016, where were you          10     decide to give those loans?
11    employed?                                               11          A. Well, I was not there in 2015 when the
12          A. At the BBVA Provincial Overseas.               12     loan was approved, but it must follow the
13          Q. Is that a bank?                                13     established procedure, besides -- also besides by
14          A. Yes.                                           14     the regulating entity.
15          Q. And what was your job there?                   15          Q. Okay.
16          A. The last one and a half years was as a         16              So is it fair to say that you have
17    managing director. And before that was the              17     knowledge about the procedures of Blue Bank
18    operations manager.                                     18     generally in considering loans?
19          Q. So in 2015, you were a managing                19          A. Correct.
20    director at BBVA, for short.                            20          Q. But not specifically about the process
21          A. Yes.                                           21     that went into approving loans to Mr. Hané's
22          Q. Does BBVA have a relationship with             22     businesses.
23    Blue Bank or is it a totally separate bank?             23          A. As a managing director, I knew -- I
24          A. Totally separated.                             24     mean, I checked the files.
25          Q. So you were not familiar with the --           25          Q. When did you check the files?


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 1           A. I checked it before coming. And I               1     file and a paper file. I've seen both. I've seen
 2     also checked it, I mean, in the process that we          2     the emails, the credit application, and when this
 3     have to go through in order to report to the             3     loan application was taken to the committee, I
 4     regulating entity and the external and internal          4     think it's called a commitment letter, the
 5     auditors. They must have knowledge of all the --         5     commitment letter, and the documents that the
 6     and they have to be -- I mean, they have to know, I      6     previous credit director produced to document the
 7     mean, of all those credits that have fallen behind       7     entire credit file.
 8     and that have been unpaid and that are late.             8               I've seen the financial figures of the
 9           Q. Who at the bank would have the most             9     companies that have applied for the credit, the
10     knowledge about the due diligence that went into        10     investigations and verifications made at the
11     the loans issued to Mr. Hané's businesses?              11     World-Check level.
12              MR. RECOR: Objection as to form.               12               The World-Check is one of the tools
13     BY MR. HOFFMAN:                                         13     that allows us to find out whether or not the
14           Q. He can still answer.                           14     person has any criminal history, of any corruption.
15           A. The people that approve the loan are           15     Not only from the person, I mean, the company as
16     not in the bank, I mean part of them. And the           16     well. It's mandatory to go through them, all the
17     credit director is no longer with us. I mean we do      17     documentation. Those documents is a similar
18     have a new credit director, which was not the one       18     process for all credit.
19     that processed Mr. Hané's loan.                         19           Q. Okay. Let me just summarize that and
20              It's not about the person. It's about          20     tell me if I'm missing something.
21     the position who would have the same                    21               So you reviewed emails?
22     responsibilities of the previous manager.               22           A. Yes.
23           Q. Okay. We'll get back to some of that           23           Q. The credit application?
24     later.                                                  24           A. Yes.
25              Are you familiar with Mr. Hané's               25           Q. The commitment letter?


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 1    bankruptcy case?                                          1          A. Yes.
 2          A. Yes.                                             2          Q. And then documents produced by the
 3          Q. Are you familiar with the documents              3    prior creditor director?
 4    produced by Mr. Hané in the bankruptcy case?              4          A. Yes.
 5          A. I have seen them, but I don't -- I               5          Q. And then financial information
 6    don't have any detailed information about them.           6    regarding the credit file?
 7          Q. When was the last time you saw them?             7          A. Yes.
 8          A. I saw them before coming, and I                  8          Q. And then, I believe, it was the word
 9    checked them along with our attorney.                     9    check?
10          Q. So before -- I assume that was in the           10             MR. RECOR: World. World-Check.
11    last few days; correct?                                  11          A. World, yes. Internet information
12          A. Yes.                                            12    about the company.
13          Q. Before the last few days, have you              13    BY MR. HOFFMAN:
14    seen the documents produced by Mr. Hané in his           14          Q. Is World-Check the name of a company?
15    bankruptcy case before?                                  15          A. So it is a company that -- I mean it's
16          A. I saw the credit file that belongs to           16    a tool that is used by all financial institutions
17    Mr. Hané.                                                17    in order to verify information about the companies,
18          Q. But I'm asking about the documents              18    I mean, any background information about the
19    Mr. Hané produced in his bankruptcy case.                19    company.
20          A. No.                                             20          Q. And that system does an international
21          Q. You mentioned before that you reviewed          21    background check?
22    the loan file; correct?                                  22          A. Yes.
23          A. Correct.                                        23          Q. So it would pick up legal issues in
24          Q. What was in that file?                          24    the United States?
25          A. We do have two files, one electronic            25             MR. RECOR: Objection as to form.


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 1               MR. HOFFMAN: He still needs to                 1          A. None. That is normal in the offshore
 2           answer.                                            2     banks.
 3               THE WITNESS: Not necessarily.                  3          Q. Give me a general breakdown of the
 4     BY MR. HOFFMAN:                                          4     location of Blue Bank's clients -- actually not --
 5           Q. You said not necessarily.                       5     strike that.
 6           A. Not necessarily.                                6              Does Blue Bank typically lend outside
 7           Q. Why not?                                        7     of Curaçao?
 8               MR. RECOR: Same objection.                     8          A. Yes.
 9           A. World-Check, we use that tool in order          9          Q. In what countries are its borrowers
10     to check for any money laundering or corruption, if     10     from?
11     it has any criminal background. But it's not a          11              MR. RECOR: Objection as beyond the
12     tool that would guarantee you that could obtain         12          scope, and also instruct not to answer as
13     100 percent of the information of that person or        13          to the extent that it would violate bank
14     institution.                                            14          secrecy laws and the laws of Curaçao.
15     BY MR. HOFFMAN:                                         15              THE WITNESS: Right.
16           Q. Okay.                                          16              So I'm here and I will follow my
17               Let's talk about Blue Bank generally          17          attorney's suggestion.
18     for a minute.                                           18              MR. HOFFMAN: Does it violate --
19               What are the total assets of the bank?        19              MR. RECOR: Yes. Yesterday we met
20               MR. RECOR: Beyond the scope.                  20          with Eric de Vries, the Curaçao lawyer, who
21     BY MR. HOFFMAN:                                         21          instructed us not to respond on any
22           Q. You can answer.                                22          questions regarding other clients of the
23           A. Is it capital or assets?                       23          bank, which would be illegal under
24           Q. Both.                                          24          Curaçao --
25           A. The bank capital is $10 million. And           25              MR. HOFFMAN: I'm not asking specific


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 1    the client assets that we have may be around              1           clients. Just generally to try to see what
 2    $70 million.                                              2           countries they lend in.
 3          Q. Does Blue Bank specialize -- what kind           3                MR. RECOR: How is that within the
 4    of lending does Blue Bank do?                             4           scope of this deposition?
 5          A. Company loans. We do bridge loans for            5                MR. HOFFMAN: Because I want to know
 6    mortgages. Personal loans. I mean, lines of               6           if it's typical for them to be lending to
 7    credit.                                                   7           Florida businesses.
 8          Q. Does Blue Bank do a lot of business              8                MR. RECOR: Why don't you ask that
 9    lending?                                                  9           question?
10              MR. RECOR: Objection as to form.               10                MR. HOFFMAN: I have to set a
11          A. It depends on what you call a loan,             11           predicate. I'm getting there.
12    because I really don't dare to say a lot. I mean         12    BY MR. HOFFMAN:
13    it's part of the financial activities of the bank.       13           Q. Without naming any specific customer,
14    BY MR. HOFFMAN:                                          14    client or business, does Blue Bank do a lot of
15          Q. Well you said you are a managing                15    lending in the United States?
16    director; correct?                                       16                MR. RECOR: Objection as to form.
17          A. Correct.                                        17           A. It does have credit activities in the
18          Q. So you manage specific accounts;                18    United States. I can't tell you very much or very
19    correct?                                                 19    little because -- I mean I cannot be general. I
20          A. I don't manage specific accounts, but           20    mean I cannot -- I cannot be that general; but yes,
21    I do have knowledge about the operations of the          21    we do have.
22    bank.                                                    22    BY MR. HOFFMAN:
23          Q. How many offices does Blue Bank have?           23           Q. Okay.
24          A. Only one. The main office.                      24                When a business approaches Blue Bank
25          Q. How many branches does it have?                 25    about obtaining a loan, what is Blue Bank's process


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 1    for considering the loan?                                 1           A. Identification documents of the
 2           A. Okay. The first step, if it's not a             2     person, normally two are asked or required, fill
 3    bank client or client of the bank, the first thing        3     out all the documents of the bank to open the
 4    that we do is that we incorporate him or make him a       4     account. You ask the client what is the type of
 5    client of the bank in the portfolio of the bank,          5     business that this person handles or manages, I
 6    client portfolio, because it's mandatory by the           6     mean the clients, I mean the place where they do
 7    regulating entity that -- to know that client.            7     business, to get another client first for opening
 8               And if it's a client that's already in         8     the account --
 9    the client portfolio of the bank, the credit              9           Q. Let me interrupt.
10    manager is in charge of all the due diligence to         10              I'm not asking for what information
11    document, I mean, the credit, and take it up to the      11     the credit manager tries to gather.
12    committee with a recommendation to approve or not,       12              I'm asking what documents he requests
13    or if it's lacking other information, I mean, to         13     from the borrower.
14    document that credit to see if it's approved or          14           A. Identification documents, financial
15    not.                                                     15     information from the client --
16               After the committee approves it, we           16           Q. What financial information?
17    have to do a followup to credit the client's             17           A. -- that will allow you to know whether
18    account and then also do a followup during the           18     or not that client has the capacity to pay the
19    useful life of that credit.                              19     loan.
20           Q. So let me -- let's see if we can break         20           Q. What financial information?
21    that down a little bit.                                  21           A. Tax returns, financial statements,
22               So a business comes and applies for a         22     main -- what are their main clients, I mean places
23    loan at Blue Bank. Blue Bank first assigns a             23     where they do business, annual sales. And, well,
24    credit manager to the file; correct?                     24     you have to find out from the client what is the
25           A. We only have one single credit                 25     reason why that person is requesting the credit.


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 1     director; correct.                                       1    What is it going to be used in.
 2           Q. And it assigns that person.                     2          Q. Okay.
 3           A. Yes. That person does all the due               3             So but the actual hard documents that
 4     diligence to support that credit and report to the       4    Blue Bank will typically request are tax returns
 5     regulating entity, which is the Central Bank.            5    and financial statements; is that correct?
 6           Q. And what documents will that credit             6          A. Yes.
 7     manager -- I'm going to call him a credit                7          Q. And are those tax returns and
 8     manager -- typically ask for from the borrower?          8    financial statements the most important documents
 9           A. The first thing that he has to do is,           9    that Blue Bank will rely on in making a credit
10     I mean, is fill out the application of the bank         10    decision?
11     with all the information, I mean all the personal       11          A. No.
12     data; origin of the funds; what does the company        12          Q. Why not?
13     do; bank references. All the information that is        13          A. Because it's a set of information that
14     going to be given, I mean what is going to be the       14    is requested, not just the financial analysis.
15     behavior of the loan, the transfers that entity is      15             You have to verify this company not
16     going to send. And it's also going to do the            16    only through the internet, and it's not only the
17     verifications through the internet and World-Check      17    information supplied by the client. You have to
18     of that company, or of the person, I mean,              18    verify whether or not the client has repayment
19     depending on the case; financial information of the     19    capacity.
20     client; analyzes and proposes -- makes a proposal       20          Q. And how do you verify that?
21     of the credit.                                          21          A. By the person, naturally, if the
22           Q. Is there a specific set of documents           22    person has a salary, if they have a job or has any
23     that the credit manager will typically ask for?         23    other mortgages.
24           A. Yes.                                           24             If it's a company, you can check, I
25           Q. And tell me what those documents are.          25    mean, the main countries where this company is


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 1     doing business, its clients, what are the main          1             I want to start to talk about Mr.
 2     clients. Depending on the amount of the loan, you       2    Hané's relationship with Blue Bank.
 3     could ask for a collateral or not.                      3             To the best of your knowledge, how was
 4          Q. And then you said the credit manager            4    Mr. Hané introduced to representatives of Blue
 5     takes the loan to the -- what was it, the               5    Bank?
 6     committee?                                              6          A. I was not present when that
 7          A. Correct.                                        7    introduction or application was made.
 8          Q. And how many people are on that                 8             What I was able to read in the file is
 9     committee?                                              9    that he was referred by Mr. Jaime Castillo.
10          A. Currently, five.                               10          Q. And what loan did eventually Blue Bank
11          Q. What are their names?                          11    issue to Mr. Hané or to one of -- any of Mr. Hané's
12              MR. RECOR: Do you want me to spell it         12    businesses?
13          for you?                                          13          A. If I'm not mistaken, he was given a
14              MR. HOFFMAN: Sure.                            14    $300,000 loan, or credit.
15              MR. RECOR: M-A-S-H-U-D.                       15          Q. When you say "he," it was given
16              THE WITNESS: The last name is                 16    directly to him or was given to one of the
17          M-E-Z-E-R-H-A-N-E.                                17    businesses?
18              Nelson Rafael same last name,                 18          A. No. To the company. To the company.
19          Mezerhane.                                        19          Q. Which company?
20              Jaime Castillo. J-A-I-M-E                     20          A. The Florida company that belongs to
21          C-A-S-T-I-L-L-O.                                  21    Mr. Hané in Florida is Jorge Hané's Laboratory.
22              Alfredo E-S-Q-U-I-V-A-R.                      22          Q. Is that Jorgehane Laboratories, Corp.?
23              And me, Carlos Caridad, currently.            23          A. Yes.
24     BY MR. HOFFMAN:                                        24          Q. And is your testimony that you don't
25          Q. I was asking currently.                        25    have any firsthand knowledge about how Mr. Hané was


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 1              And what does the -- how does the              1    introduced to Blue Bank; right?
 2    committee reach its decision?                            2         A. What I was able to read in the file.
 3          A. You verify the documentation that               3         Q. But you weren't around in 2015. So
 4    comes with the application that has been previously      4    you don't know personally.
 5    analyzed by the credit manager. So he places there       5         A. No, I don't know the details.
 6    all the information that he believes or considers        6         Q. Okay.
 7    is necessary for the credit, along with any              7             Just one important thing, I can tell
 8    comments that he can make considers necessary or         8    you understand some English, so just be careful to
 9    any other documents that he would consider -- that       9    let me finish my question before you start talking,
10    he believes are necessary in order to proceed with      10    just because she can't record multiple things going
11    the credit, or simply with his approval                 11    on at the same time.
12    recommendation.                                         12         A. I apologize, sir.
13          Q. And has this process been in place             13         Q. Okay.
14    since you started working for Blue Bank in 2016?        14             What documents in the file did you see
15          A. And it was also the process before as          15    that show that he was referred by Jaime Castillo?
16    well.                                                   16         A. An email.
17          Q. So it was the process for evaluating           17         Q. And what did that email say?
18    loans in 2015 as well.                                  18         A. Word by word? I don't remember
19          A. It's mandatory by the Central Bank             19    exactly what it said, but it was introducing Mr.
20    that you comply with all those requirements.            20    Hané so that he could be incorporated to the client
21          Q. Okay.                                          21    portfolio of the bank.
22          A. Remember that we are there to                  22         Q. Is this the same Mr. Castillo who was
23    guarantee the safety of all the financial deposits      23    on the credit committee?
24    of all the clients.                                     24         A. Currently, yes.
25          Q. Okay.                                          25         Q. Was he on the credit committee then?


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 1         A. No.                                              1              "Subject, opening of an account."
 2             MR. HOFFMAN: I'm going to introduce             2           Q. Okay. Let's start here.
 3         this as Exhibit No. 2.                              3              The email is address is
 4             (Thereupon, Defendant's No. 2,                  4     jcastillo@grupomezerhane.com?
 5         10-27-15 Email, was marked for                      5           A. Correct.
 6         Identification.)                                    6           Q. To the best of your knowledge, what is
 7             MR. HOFFMAN: Do you have any extra              7     grupomezerhane.com?
 8         copies of this?                                     8           A. It's a conglomerate of companies that
 9             MR. RECOR: I think I do.                        9     include newspapers, financial institutions and
10             Yeah, I have a second copy.                    10     communications.
11    BY MR. HOFFMAN:                                         11           Q. Is part of that conglomerate Blue
12         Q. I'm showing you what the court                  12     Bank?
13    reporter has marked as Exhibit 2.                       13           A. The owner of Blue Bank in 100 percent
14             This is an email from Mr. Castillo             14     is Premiere International Group.
15    dated October 27, 2015; correct?                        15           Q. And who owns Premiere International
16         A. Correct.                                        16     Group?
17         Q. I only received this document today.            17              MR. RECOR: Object. Beyond the scope.
18    So I'm going to ask you to read it and then have it     18              He can still respond as he knows.
19    translated.                                             19           A. I have no knowledge of who are the
20             THE INTERPRETER: It is in Spanish.             20     owners of those companies.
21             MR. HOFFMAN: Actually I have no idea,          21     BY MR. HOFFMAN:
22         but I believe it's in Spanish.                     22           Q. Okay.
23         A. All right.                                      23           A. That is, the stock structure.
24    BY MR. HOFFMAN:                                         24           Q. And that entity, that Premiere -- what
25         Q. Okay.                                           25     was the name of the entity?


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 1              And is this the email you were                 1         A.     Premiere International.
 2    referring to earlier when you said that Mr. Hané         2         Q.     Where is that based out of?
 3    was introduced to Blue Bank by Mr. Castillo?             3         A.     Curaçao.
 4          A. Yes.                                            4         Q.     Okay.
 5          Q. And this was part of the loan file?             5               Who is Cornelis Rojer?
 6          A. Okay. The credit file, it has two               6           A. He was a previous managing director.
 7    components. I mean one in an electronic component        7           Q. Of what?
 8    and the hard copy.                                       8           A. Of Blue Bank.
 9              This was in the file as such. I mean           9           Q. So as of October 27, 2015, he was the
10    not the electronic file, but the hard copy in the       10     managing director?
11    bank's files.                                           11           A. Correct.
12          Q. And you reviewed this email in advance         12           Q. Who is Danette Izijk?
13    of today's deposition.                                  13           A. She's the operations manager.
14          A. Yes.                                           14           Q. What does the operations manager do?
15          Q. I know that this is a little unusual,          15           A. They verify -- they verify all the
16    but, because of the circumstances, I'm going to ask     16     operations activity of the bank, transfers,
17    you to read the email out loud and let it get           17     clients; I mean the operations activity.
18    translated through the translator.                      18           Q. Is Danette Izijk still in that
19          A. Says:                                          19     position?
20              "From: Jcastillo@grupomezerhane.com.          20           A. Yes.
21              "Sent: Tuesday, October 27, 2015,             21           Q. And Cornelis Rojer, when did he leave
22          6:34 p.m.                                         22     his position as managing director?
23              "To: Cornelis Rojer, Danette Izijk            23           A. In December 2016.
24          and Alice Capriles.                               24           Q. Do you know where he is now?
25              "Cc: Nelson J. Mezerhane.                     25           A. No.


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 1          Q. Who is Alice Capriles?                            1           Q. Which one is the father and which one
 2          A. She's like the one in charge of the               2    is the son?
 3     clients. She's like the client executive.                 3           A. Nelson Rafael is the son, and Nelson
 4          Q. What does a client executive do?                  4    J. is the father.
 5          A. This is the person that's going to                5               Could we take a small recess?
 6     incorporate the client to the bank. She's the             6               MR. HOFFMAN: Sure.
 7     person who's going to ask for the documentation           7               (Whereupon, a short break was taken
 8     from the client and the application from the client       8           and, upon reconvening, the following
 9     to incorporate it to the client file.                     9           proceedings were had:)
10          Q. Is she the credit manager?                       10    BY MR. HOFFMAN:
11          A. No. Because the subject here is the              11           Q. Have you spoken with Mr. Castillo
12     opening of an account. It's not a credit                 12    about this email?
13     application.                                             13           A. No.
14          Q. When we talk about account, we're                14           Q. Have you spoken to Mr. Castillo about
15     talking about a bank account, like a checking            15    this case at all?
16     account or a savings account?                            16           A. Briefly. Very briefly.
17          A. Like to do any type of commercial                17           Q. And when did you speak with him?
18     transaction, you need an account. It's mandatory         18           A. Yesterday.
19     by the Central Bank.                                     19           Q. Yesterday. Okay.
20          Q. Okay.                                            20           A. One minute or less. I mean we just
21              Have you spoken to Mr. Castillo about           21    saw each other in the hallway and he asked me why I
22     this email?                                              22    was here and things like that.
23          A. No.                                              23           Q. I may have asked this before but, as
24          Q. As of October 2015, I think you said             24    of October 27, 2015, Mr. Castillo did not have a
25     before that Mr. Castillo was not on the credit           25    formal role at Blue Bank; correct?


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 1     committee; correct?                                       1          A. Formally? No.
 2           A. Correct.                                         2          Q. What about informally?
 3           Q. Cornelis Rojer, was he on the                    3          A. For 2015? Not that I'm aware of.
 4     committee?                                                4          Q. Why would Mr. Castillo send an email
 5           A. Yes.                                             5     about a new client to these four people?
 6           Q. Danette Izijk, was she on the                    6              MR. RECOR: Objection as to form.
 7     committee?                                                7          A. I have no idea why he did it at that
 8           A. No.                                              8     particular moment.
 9           Q. And Alice Capriles, was she on the               9     BY MR. HOFFMAN:
10     committee?                                               10          Q. Does Mr. Castillo often refer
11           A. No.                                             11     customers to Blue Bank?
12           Q. Nelson Mezerhane, who is that?                  12              MR. RECOR: Objection to form.
13           A. Mr. Mezerhane is from the Mezerhane             13          A. I don't know -- I don't know what you
14     Group.                                                   14     mean by often. It could be one, it could be 1,000,
15           Q. And what's his role at Blue Bank?               15     100,000.
16           A. In Blue Bank? He has no specific                16              I don't know.
17     role.                                                    17     BY MR. HOFFMAN:
18           Q. You testified earlier that he's on the          18          Q. Fair enough.
19     credit committee now; right?                             19              Are you aware of any other customers
20           A. No. It's Nelson Rafael.                         20     that Mr. Castillo has referred to Blue Bank?
21           Q. Which is not -- oh, so that's not               21          A. Yes.
22     Nelson J. Mezerhane.                                     22          Q. And what was Nelson J. Mezerhane's
23           A. No.                                             23     role with Blue Bank?
24           Q. Are they father and son?                        24          A. He doesn't have a direct role in Blue
25           A. Yes.                                            25     Bank. He is the last beneficiary of the structure.


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 1    I don't know whether or not in 100 percent, but he       1          to open an account in order so that we can
 2    is one of the last beneficiaries.                        2          link this company with us as soon as
 3          Q. When you say "beneficiaries," you mean          3          possible.
 4    owners?                                                  4              "Best regards, I'm awaiting for the
 5          A. Yes.                                            5          information, regards, Jaime Castillo."
 6          Q. And it appears -- and Mr. Castillo              6              MR. HOFFMAN: Did you skip two lines
 7    works for Grupo Mezerhane.                               7          there? Did he read the whole thing or did
 8          A. Correct.                                        8          he skip --
 9          Q. Which, I assume, Nelson J. Mezerhane            9              THE INTERPRETER: No.
10    is also a part of.                                      10              MR. HOFFMAN: He read the whole thing?
11          A. Yes.                                           11              THE INTERPRETER: Yeah.
12          Q. Okay. Let's go back to the email.              12              MR. HOFFMAN: Shows you I can't follow
13    Just continue reading from the text.                    13          it at all.
14          A. Okay.                                          14    BY MR. HOFFMAN:
15              "Dear sir, good afternoon.                    15          Q. Do you know where Mr. Castillo got
16              "We have obtained as a client the             16    this $300,000 number from?
17          company Hane Laboratories, which is a very        17          A. No.
18          prestigious company in the development,           18          Q. Are you aware of any other lending
19          manufacturing and distribution of products        19    relationships between Grupo Mezerhane and Mr. Hané?
20          to lose weight with a great distribution          20          A. With Blue Bank?
21          network in Colombia and Argentina."               21          Q. No.
22          Q. Stop for a second.                             22              With any other -- any other of the
23              When he says in the beginning "we have        23    entities within Grupo Mezerhane?
24    obtained as a client," do you know who he's             24          A. With Coltefinanciera.
25    referring to?
                                                              25          Q. Okay.


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 1         A. No.                                              1             To the best of your knowledge, is
 2         Q. Do you know where Mr. Castillo                   2    anything contained in this email false?
 3    obtained this information from?                          3          A. I wouldn't dare to say that anything
 4         A. No.                                              4    is false. No.
 5         Q. Do you know -- strike that.                      5             False with respect to what?
 6             Continue reading.                               6          Q. I don't know. Mr. Castillo made
 7         A. It says:                                         7    statements in this email. I just want to know if
 8             "The brand of the greatest                      8    it's Blue Bank's position that those statements are
 9         distribution is Reduce Fat Fast.                    9    true statements or false statements.
10             "The contact has been made through Dr.         10          A. This is sent out by -- I mean,
11         Mezerhane, with the owner of the firm,             11    personally by Mr. Castillo. He's not sending it in
12         Mr. Jorge Hané."                                   12    the name of Blue Bank.
13         Q. Okay. Dr. Mezerhane is Nelson J.                13          Q. So let me ask it a little differently.
14    Mezerhane?                                              14             Does Blue Bank have any reason to
15         A. Yes.                                            15    believe that any of these statements in this email
16         Q. And have you -- have you spoken with            16    are false?
17    Mr. Mezerhane about Mr. Hané?                           17          A. No.
18         A. No.                                             18          Q. Was this email the way that Mr. Hané
19         Q. Do you know how they know each other?           19    was introduced to Blue Bank?
20         A. No.                                             20          A. I don't know.
21         Q. Continue.                                       21          Q. So you don't know if there was any
22         A. Says:                                           22    contact between Mr. Hané and Blue Bank before this
23             "I really request from you that                23    email was sent?
24         tomorrow at first thing in the morning you         24          A. I don't know.
25         send me a complete package of all the forms        25             And I apologize for the interruption.


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 1              Not that I'm aware of.                           1              I do remember that I was not present
 2           Q. Understood.                                      2     at the time.
 3              To the best of your knowledge, what              3           Q. Right.
 4     was the followup steps taken after Mr. Castillo           4              So just to, I guess, clarify again,
 5     sent this email?                                          5     this is not based on your personal knowledge;
 6           A. All right. I sent -- as is indicated             6     correct?
 7     in the email, you have to link the client with the        7           A. Correct.
 8     bank, opening the account.                                8           Q. This is based on your review of the
 9              So the document that I required in               9     file.
10     order to open the account must have been required        10           A. And also from what I can remember.
11     from the client that is mentioned in this email.         11           Q. How can you remember any of it? You
12           Q. Do you have any of the documents that           12     weren't here.
13     were provided in order to open that account?             13           A. No.
14           A. All the clients of Blue Bank must have          14              What I meant is -- I don't mean that
15     a file with all the necessary documents in order to      15     at the time -- I don't mean the time when the
16     open the account.                                        16     account was opened.
17           Q. What are the necessary documents to             17              From what I remember of seeing in the
18     open an account?                                         18     file.
19           A. The ones that are mentioned here.               19           Q. Understood.
20           Q. No.                                             20              But you understand that the testimony
21           A. Okay. The opening form, identity                21     you are giving is on behalf of Blue Bank; correct?
22     documents, the signed document where the client          22           A. Correct.
23     accepts all the terms and conditions of the bank,        23              The questions that were asked -- that
24     the acceptance of online banking, and all the            24     we were requested to answer.
25     information that's required in those forms, I mean       25           Q. Okay.


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 1     the activity that the client expects to have with         1             Was there a credit manager appointed
 2     those funds. All the information that are required        2    to the loan request?
 3     in that form.                                             3         A. The one that is assigned, I mean, to
 4              It's a form that has several sections.           4    every single application, the one that was at the
 5     Know your client, address, email addresses,               5    time and the one that is currently there.
 6     telephone numbers, commercial activity, what type         6         Q. And with respect to the loan requested
 7     of business does it do, how does the company              7    by Jorgehane Laboratories in late October/November,
 8     maintain the money, what is the purpose of the            8    2015, who was the credit manager?
 9     business activity. That is only reference to the          9         A. Ramsey Martinus.
10     opening of the account.                                  10         Q. And is that spelled M-A-R-T-I-N-U-S?
11           Q. And was a bank account opened?                  11         A. Yes.
12           A. Yes.                                            12         Q. Is Mr. Martinus still with Blue Bank?
13           Q. And was that bank account in the name           13         A. No.
14     of Jorgehane Laboratories Corp.?                         14         Q. When did he leave Blue Bank?
15           A. Yes.                                            15         A. If I'm not mistaken, it was in May,
16           Q. Was any money put in that account               16    2017.
17     initially?                                               17         Q. Do you know where he is now?
18           A. When the accounts are opened, not               18         A. In Curaçao, but --
19     necessarily it has to have any funds. I mean none        19         Q. Do you know where he works?
20     of the accounts have any funds.                          20         A. No.
21           Q. Do you know if this account had funds?          21         Q. Have you ever spoken to Mr. Martinus
22           A. It had? I don't know.                           22    about the Jorgehane Laboratories' loan?
23           Q. When was the loan process started?              23         A. Of all the loans in the portfolio.
24           A. Through what I remember from the file,          24    Not about this specific loan. We did talk because
25     it was October or November.                              25    we checked loan by loan verifying the status of


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 1    each one.                                                 1          A. Okay.
 2           Q. So would it have been Mr. Martinus's            2          Q. So in Jorgehane Laboratories' credit
 3    job to collect documents from Jorgehane                   3    application file, there are copies of Jorgehane
 4    Laboratories concerning the loan?                         4    Laboratories' tax returns; correct?
 5           A. Correct.                                        5          A. Yes.
 6           Q. And what documents did he -- did he             6          Q. For what years?
 7    obtain?                                                   7          A. If I remember correctly, it's 2013 and
 8           A. Of what I can remember seeing in the            8    2014. And the ones for 2015 were also requested.
 9    file, the emails that were composed for the opening       9    I mean that's what I seem to remember, because it
10    of the account, a credit analysis that he                10    is a pretty large file.
11    performed, the recommendation to take this               11          Q. And the tax returns 2013, '14 and
12    application to the credit committee with a               12    possibly 2015, those were analyzed by Mr. Martinus?
13    recommendation or without one.                           13          A. Correct.
14           Q. That wasn't my question.                       14          Q. And those contributed to his decision
15              What documents did Mr. Martinus obtain         15    whether to recommend the loan or not recommend the
16    from Mr. Hané or Hane Laboratories -- or Jorgehane       16    loan.
17    Laboratories?                                            17          A. It's part of the information that
18           A. He must have requested the reason why          18    helps him make the recommendation. But it's not
19    he was asking for the loan, purpose of the credit,       19    only based exclusively on that information.
20    and the agreement of the terms and conditions.           20          Q. That wasn't -- I didn't ask if it was
21           Q. Let me restate.                                21    the only decision, but it was part of the decision;
22              I'm asking did he request -- did he --         22    correct?
23    did Mr. Martinus request tax returns from Jorgehane      23          A. Yes.
24    Laboratories?                                            24          Q. Does Blue Bank have any reason to
25           A. He must have done it.                          25    believe that the 2013, '14 or '15 tax returns of


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 1          Q. Why do you say that he must have done            1     Jorgehane Laboratories contain false information?
 2    it?                                                       2            A. I don't want to say that for sure
 3          A. Because that's -- that's normal                  3     because it was not my role to determine whether or
 4    procedure for any credit.                                 4     not the information was false, and I'm not there to
 5          Q. And how would he have requested it, by           5     determine whether the information is false or not
 6    email? By phone? What's the method of                     6     because I have no evidence.
 7    communication?                                            7              Remember, the main function of the
 8          A. He could have done it through an                 8     managing directors of the bank is that the -- is to
 9    email, through a phone call. He could have                9     guarantee that the credits are granted protecting
10    contacted a client and said, in order for me to          10     our clients' best interests and of the
11    process your application, I need these documents.        11     stockholders.
12    He could have done it through an email.                  12              So we receive the information from the
13          Q. So I understand he could have done it           13     client and we start, I mean, based on the good
14    those ways, but do you know how he actually did it       14     faith.
15    in this case?                                            15            Q. Okay. Please just answer the
16          A. I believe -- I can't remember                   16     questions that I'm asking. I want to keep this
17    exactly -- that there is an email requesting             17     moving as quickly as possible.
18    financial statements and the purpose of the credit.      18              Does Blue Bank have any reason to
19          Q. There is an email from Mr. Martinus to          19     believe that the 2014 -- 2013, 2014, and 2015 tax
20    Mr. Hané?                                                20     returns contained false information?
21          A. I don't know if it's directly                   21            A. I don't know.
22    requesting it to him or one of the persons that          22            Q. In this lawsuit, is it Blue Bank's
23    works for him.                                           23     position that the information contained in those
24          Q. Fair enough. But I haven't seen that            24     tax returns was false?
25    email. So I need a copy of that email sent to me.        25            A. The tax returns that were filed at


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 1    that moment were used in the credit analysis, and         1    provided by Mr. -- in connection with the Jorgehane
 2    they contributed to make the decision.                    2    Laboratories' credit application were false.
 3             So a company that was presenting those           3           A. Partially. The documents, yes,
 4    tax returns seemed like a company that could be           4    because we don't -- we did not base our decision
 5    given a credit with the consequences of the               5    only -- or exclusively on those documents that he
 6    ulterior bankruptcy, we couldn't have imagined            6    provided, but other documents that he also
 7    that.                                                     7    provided.
 8             I mean with those tax returns that               8           Q. You are answering questions that I'm
 9    were filed, not that the information was false, but       9    not asking.
10    was the truest possible information.                     10              I just want to know -- and I'm going
11          Q. I think you are overthinking my                 11    to ask this all day if I need to, but I just want
12    question.                                                12    to know if --
13             Blue Bank contends in this lawsuit              13           A. And I will keep answering all day long
14    that Mr. Hané made false statements in connection        14    if it's necessary. And that that is part of the
15    with these loans; correct?                               15    information and I cannot answer yes or no.
16          A. Correct.                                        16           Q. Okay.
17          Q. Were these 2013, 2014 and 2015 tax              17              So is the answer that Blue Bank does
18    returns among the false documents that Blue Bank is      18    not know whether the 2013 and 2014 tax returns were
19    alleging?                                                19    false?
20             It's a yes or no answer.                        20           A. I cannot answer if all the information
21             MR. RECOR: I'll object. It's not                21    is false. It could be partially, because it was
22          necessarily a yes or no answer.                    22    based on that that the decision was made.
23             First 2015, there is no evidence that           23              It doesn't correspond -- it doesn't
24          that was ever reviewed by anyone --                24    correspond to me to say whether it was false or
25             MR. HOFFMAN: He said 2015.                      25    not. It's the tax authorities who could say yes or


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 1             MR. RECOR: Well, it was reviewed in              1    no.
 2         2015. I don't know how he completed tax              2          Q. Okay.
 3         returns in 2015 for that time.                       3              But is it Blue Bank's position that
 4             The complaint speaks for itself, and             4    the tax returns were false, the 2013 and 2014 tax
 5         the question is beyond the scope that it is          5    returns were false, or does Blue Bank not know
 6         a contention interrogatory.                          6    whether they contain false information?
 7             THE WITNESS: What I did say before in            7             MR. RECOR: I'll repeat the same
 8         my answer was that the tax returns for 2015          8         objection, that it's a contention
 9         were checked. I mean I said they could               9         interrogatory. It's also been asked and
10         have been requested from the client.                10         answered several times.
11             MR. HOFFMAN: Could you go back to my            11             MR. HOFFMAN: It actually really
12         last question?                                      12         hasn't been answered. I'm really not
13             (Thereupon, a portion of the record             13         trying to pull anything here.
14         was read by the court reporter:                     14             I just want to know if Blue Bank
15             "Question: Were these 2013, 2014 and            15         thinks the tax returns were false.
16         2015 tax returns among the false documents          16             MR. RECOR: I think you can look at
17         that Blue Bank is alleging?")                       17         his prior answers and you can look at
18             THE WITNESS: We don't have the tax              18         the --
19         returns for 2015.                                   19             MR. HOFFMAN: I can have her read
20             We do have the ones for 2013 and 2014.          20         since the line of questioning started, but
21    BY MR. HOFFMAN:                                          21         I really don't want to.
22         Q. I don't think that answers the                   22    BY MR. HOFFMAN:
23    question.                                                23          Q. There are multiple statements in the
24             I just wanted to know if it is Blue             24    complaint that Mr. Hané provided false information
25    Bank's position that the 2013 and 2014 tax returns       25    to Blue Bank, and I'm just trying to narrow down


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 1     what that false information was.                          1    provide all of the true and correct information.
 2           A. And we do -- we do keep our position             2    Because he was doing a credit application, it's
 3     that part of the information that was supplied was        3    mandatory that he provides all the information to
 4     not -- was not true information, but I cannot say         4    be true and correct.
 5     exclusively that that information were his tax            5              MR. HOFFMAN: So I'm going to
 6     returns. But there was information that was not           6          understand this that he's not willing to
 7     true.                                                     7          answer whether he thinks the tax returns
 8           Q. Okay.                                            8          were true or false, or whether he doesn't
 9              So when you say there was information            9          know? And I'm not going to conclude
10     that was not true, are the tax returns part of the       10          today's deposition because I'm going to
11     not true information or the stuff that you don't         11          leave this question open and we'll have to
12     know whether it was true or not?                         12          come back to it.
13           A. The information in the tax returns              13              MR. RECOR: I object to that. And
14     could be true, which was the one that was provided,      14          again, asked and answered.
15     but it did not reflect that it was a company that        15              If you look through several, several
16     was in some type of financial problem.                   16          times, he says he doesn't know if they are
17           Q. Okay. I'm going to try one last time.           17          true or false.
18              I think that Mr. Hané's 2014 tax                18              MR. HOFFMAN: Okay.
19     returns were 100 percent true.                           19    BY MR. HOFFMAN:
20              Do you agree with me?                           20          Q. Your attorney just said -- so your
21           A. That's -- that's what you think and I           21    attorney just said that your testimony was you
22     respect your statement that they are 100 percent         22    don't know whether they are true or false. Is that
23     true. But I cannot confirm the same if 100 percent       23    correct?
24     is true.                                                 24          A. It's correct.
25              It's not -- it doesn't -- it's not my           25          Q. All right.


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 1     role to say that. It's the tax authorities who can        1         A. The tax returns.
 2     say that.                                                 2         Q. Tax returns, yes.
 3              Blue Bank does think that the                    3            In addition to tax returns, what other
 4     information provided by Mr. Hané, not only the tax        4    documents did Jorgehane Laboratories Corp. provide
 5     returns because, I mean, the information that we          5    to the credit manager?
 6     use to arrive at that decision were not only his          6         A. Identification documents, the contact
 7     tax returns, there was other information that he          7    people at his company. Emails that I mentioned.
 8     did not provide, some information that he -- that         8    Emails where he mentioned how successful he was in
 9     he had at the time.                                       9    other countries with his product.
10              When you do a credit application, it's          10         Q. Let's stop here.
11     important that that company provides all the             11            What forms of identification did he
12     information about the company. It was reflected          12    provide?
13     there that it was in many, many countries that had       13         A. Passports. And if I remember
14     many networks of distribution, that it was a             14    correctly, there is a driver's license.
15     successful product, it was a company that was in         15         Q. Do you have any reason to believe that
16     constant growth, and that it needed the loan for --      16    those documents were not accurate?
17     as working capital.                                      17         A. No. They were accurate.
18              So based on all the information that            18         Q. You said he provided contact people
19     he provided, is that we decided that not all the         19    for individuals at Jorgehane Laboratories; correct?
20     information that he provided was true and correct.       20         A. Yes.
21     He didn't inform us that he had an open case in          21         Q. How did he provide that?
22     Colombia because of false marketing, that he had an      22         A. He copied the emails.
23     open case in Colombia.                                   23         Q. Copied emails.
24              So based on all that information that           24            Has Blue Bank produced those emails in
25     he provided is that we concluded that he did not         25    this case?


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 1          A. I will have to check the file, but I             1         Hané."
 2    believe so.                                               2          Q. Okay.
 3          Q. Okay.                                            3             So up until this point, there is -- is
 4              And then the next thing you said after          4    it Blue Bank's position that there are any false
 5    contact people were emails; correct?                      5    statements up until this point in the email?
 6          A. Correct.                                         6            MR. RECOR: Objection as to form.
 7          Q. Let's be specific.                               7    BY MR. HOFFMAN:
 8              What emails are you referring to?               8          Q. He can answer.
 9          A. There is one where he mentions the               9            MR. RECOR: It's ambiguous at this
10    activity of the company and how successful it was,       10         point.
11    and the countries where they were present. And the       11         A. Can you please repeat the question?
12    signatures at the end of the emails that indicate        12    BY MR. HOFFMAN:
13    to me the countries where the company is present.        13          Q. I said up until this point in the
14    And providing information to the credit manager how      14    email, the muchas gracias point of the email, are
15    successful the company was. It was like a                15    there any statements from Mr. Hané that Blue Bank
16    guaranty, I mean, to -- for the approval of the          16    contends are false?
17    credit.                                                  17         A. Up until this moment? No.
18          Q. Okay.                                           18          Q. Okay.
19              So I've received two sets of emails as         19         A. Right now here he's talking about my
20    copies from Blue Bank, and I want to go through          20    account, and it's actually the company's account.
21    them with you.                                           21            So there are some things that are not
22              (Thereupon, Defendant's No. 3, 11/5
                                                               22    exactly precise.
23          Email, was marked for Identification.)
                                                               23          Q. Okay. Good catch. Good.
24    BY MR. HOFFMAN:
                                                               24             (Thereupon, Defendant's No. 4, Email
25          Q. What you have in front of you is an
                                                               25          Chain, was marked for Identification.)

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 1    email from November 5th.                                  1     BY MR. HOFFMAN:
 2         A. Yes.                                              2           Q. I'm showing you an email conversation
 3         Q. And who is that email from?                       3     with a number of individual emails. Correct?
 4         A. From @jorgehanelaboratories.com.                  4           A. All right. Correct.
 5         Q. Why don't you read the email out loud?            5           Q. So the last email in the exhibit, the
 6         A. It's sent to the Director of Blue                 6     last email, which is on the last page, this is the
 7    Bank, Cornelis Rojer, copy Ramsey Martinus, Ricardo       7     first one in time chronologically.
 8    Zurlo, Jeffrey Weiss.                                     8           A. This one.
 9             Says:                                            9           Q. So the first email, then, would be the
10             "Mr. Rojer, through this letter I am            10     November 4, 2015 at 8:29 p.m.; correct?
11         requesting a loan for $300,000. I do                11           A. Correct.
12         accept the 10 percent annual interest with          12           Q. Why don't you read that email?
13         a payment of monthly interest.                      13           A. From jorgehanelab.com, sent Wednesday
14             "You can count on a warranty of this            14     November 4, 2015, 8:29 p.m.
15         loan, my personal reference.                        15              To Cornelis Rojer, copy Ramsey
16             "It is my commitment a minimum first            16     Martinus, Jeffrey Weiss. So the subject is a
17         payment of 25 percent of the capital owed           17     certificate of $100,000.
18         so that it can be renewed if I request it.          18              MR. RECOR: You skipped one.
19         And if I request it, the balance at the end         19              So the record is clear -- I know it's
20         of that period is -- which is one year.             20           an exhibit.
21             "Please let me know when this money is          21              MR. HOFFMAN: It's fine.
22         available in my account so that I can make          22              THE WITNESS: "Mr. Rojer, through this
23         some transfers. I understand that it would          23           I am requesting to constitute a certificate
24         be today or at the latest tomorrow.                 24           of deposit of $100,000 for 30 days. Later
25             "Thank you very much. Regards, Jorge            25           I will give you instructions regarding the


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 1          use of these monies.                                 1    have no reason to believe that the loans were not
 2             "I appreciate you let me know what is             2    intended for working capital; correct?
 3          the interest that your bank will pay on              3          A. According to what he states in this
 4          this certificate.                                    4    email, no. I mean by this time.
 5             "Thank you very much.                             5          Q. Okay.
 6             "In regards, Jorge Hané."                         6              MR. HOFFMAN: Maybe we can stipulate
 7    BY MR. HOFFMAN:                                            7          to this. I don't want to have to go print
 8          Q. So up until this point of the email,              8          it out again and clean up the exhibit, but
 9    it's fair to say there are no false statements;            9          all that's on the top is just the heading.
10    correct?                                                  10          This is the email that's there. Some
11          A. Correct. That is by November 4th.                11          reason the exhibit got cut off, but it's
12          Q. Yeah.                                            12          the same email.
13          A. Correct.                                         13              MR. RECOR: So you want to put on the
14          Q. Turn to the third page, do you see on            14          record that it was sent from Jorge Hané on
15    the bottom 3 of 5?                                        15          November 5th at 11:10 a.m. to Ramsey
16          A. 3 of 5.                                          16          Cornelis at Blue Bank, copy to Ricardo
17          Q. So there is an email dated -- from
                                                                17          Zurlo and Jeffrey Weiss.
18    j@jorgehanelab -- November 25th, 2015 at 9:07 a.m.
                                                                18              MR. HOFFMAN: Thank you.
19             Do you see what I'm referring to?
                                                                19    BY MR. HOFFMAN:
20          A. Yes.
                                                                20          Q. So in the complaint Blue Bank filed
21
                                                                21    against Mr. Hané, there are repeated references to
            Q. Can you read that email?
                                                                22    false statements in emails.
22          A. From jorgehanelab.com sent on Tuesday,
                                                                23              What are those in reference to?
23    November 5th, 2015 at 9:57 a.m. to Ramsey Martinus
                                                                24          A. It refers to facts that occurred, I
24    and Cornelis Rojer, copy to Ricardo Zurlo and
                                                                25    mean, after the reception of the emails.
25    Jeffrey Weiss. The subject is the $100,000


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 1     certificate.                                              1          Q. So it's not the emails that I just
 2           Q. Okay.                                            2    showed you.
 3           A. Says:                                            3          A. By the time that these were received,
 4              "Ramsey, let's do 100,000 30 days with           4    no. But for later dates, yes.
 5           0.35 percent per month.                             5          Q. So there are emails -- -- strike that.
 6              "Were the 300,000 already credited to            6              There are additional emails that
 7           my account?                                         7    contain false statements that I have not shown you.
 8              "In regards, Jorge Hané."                        8          A. So if we analyze these emails with
 9           Q. Again, the same question I asked                 9    later dates, there is information that does not
10     before, up until this point of this email, no false      10    correspond to what is being said here.
11     statements; correct?                                     11          Q. Tell me what.
12           A. By November 5th, 2015? No.                      12          A. Let's say, for example, that the loan
13           Q. And then just on page 1 of 5, all the           13    was going to be used for working capital. That
14     way at the top, there is an email dated                  14    there was going to be a certificate opened up for
15     November 5th, 2015, 11:10 a.m. This one is in            15    $100,000 opened up for 30 days, so the money of the
16     English. You can skip who it's to.                       16    certificate was used, and there are the emails that
17              It's from j@jorgehanelab.com. And it            17    are not here when he said how successful the
18     states the purpose of the loan -- of loan is             18    company and the products that were sold, and that
19     working capital.                                         19    it was present in all these countries that are
20           A. But we don't have the top of this.              20    mentioned here.
21           Q. You don't have the top. What do you             21          Q. Let's take those one at a time.
22     mean?                                                    22              The first thing you said that was
23           A. You see this is the answer, but --              23    false related to whether the loan was going to be
24           Q. Right. Okay. Fair enough.                       24    used for working capital.
25              But that portion of the email, you              25          A. Correct.


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 1          Q. Why do you believe that that statement           1           A. Not exclusively.
 2    is false?                                                 2           Q. Not exclusively, but among the
 3          A. Because all those transfers should               3     reasons.
 4    have been made to the company that was going to be        4           A. Yes. Because if I request a loan for
 5    using the working capital. So working capital, I          5     working capital, what is correct by the person who
 6    mean it is used to generate, I mean what is               6     is requesting the loan from the bank is the
 7    understood in the financial world, I use working my       7     guaranty they use the resources that were requested
 8    capital to power up my products, power up my              8     are used as working capital.
 9    products, and the use of the transfers were made          9              And according to what happened in the
10    for -- those transfers were made to companies which      10     company, I mean in the short-term, it is evidence
11    should explain why it was the purpose -- what was        11     that the capital was not used, or the money was not
12    the purpose of that they gave to the use of those        12     used for the purpose that was intended.
13    monies that were transferred to them as evidence         13           Q. Fair enough.
14    that we brought here today.                              14              So do you know what a subsidiary is?
15          Q. So let me make sure I understand.               15           A. Yes.
16              So you are saying there was a false            16           Q. And what's your understanding of what
17    statement because the money was not used for             17     that is?
18    working capital.                                         18           A. The company -- well, not necessarily
19          A. Correct.                                        19     even though they have the same name, they are
20          Q. And what is your understanding for              20     subsidiaries.
21    what the funds were used for?                            21           Q. That was my question. I just wanted
22          A. According to the transfers, it was not          22     to know what a subsidiary is, or what his
23    used for the intended use.                               23     understanding of what a subsidiary is.
24          Q. What transfers are you referring to?            24           A. The companies that are established, I
25              MR. RECOR: He's asking me for the              25     mean companies that belong to a group, these


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 1         documents.                                           1    companies are established in other countries and
 2              I don't know if you want --                     2    somehow they have a relationship, I mean based on
 3              MR. HOFFMAN: Yeah.                              3    stock or the products that are manufactured. And
 4              MR. RECOR: -- the transfer documents.           4    it's important that the bank are notified.
 5              Do you want me to mark it as an                 5             You are asking me what subsidiaries
 6         exhibit?                                             6    are.
 7              MR. HOFFMAN: No, let's just look at             7           Q. Yeah. We can stop. Let me rephrase.
 8         it first. I want to see what document he's           8    I don't want to be too open-ended.
 9         talking about and then we can mark it.               9             Are you aware that Jorgehane
10              THE WITNESS: Okay. There is a                  10    Laboratories Colombia, SAS is wholly-owned by
11         transfer made to a company by the name of           11    Jorgehane Laboratories Corp.?
12         Jorgehane Laboratories Colombia for an              12           A. I did not have that knowledge.
13         amount of $200,000.                                 13           Q. If that were true, and the Blue
14              Since the loan was given as working            14    Bank -- the $200,000 from Blue Bank were used by
15         capital for a company located in Florida,           15    Jorgehane Laboratories Colombia, which is
16         this is a transfer to a company which is            16    wholly-owned by Jorgehane Laboratories, would it
17         based in Colombia.                                  17    change your position that the money was not used
18    BY MR. HOFFMAN:                                          18    for working capital?
19         Q. Let's stop there. So just to restate             19           A. It was not -- that's not what was
20    that, tell me if I'm saying something incorrect.         20    informed to the bank, that this money was going to
21              Blue Bank's position is that the money         21    be used by the subsidiary, and not all the names of
22    was not used for working capital as evidenced by         22    the subsidiaries that they had were provided.
23    the fact that Jorgehane Laboratories Corp.               23           Q. Other than the $200,000 wire -- let's
24    transferred the money to Jorgehane Laboratories          24    just go ahead and mark that transfer document as
25    Colombia, SAS; correct?                                  25    No. 5.


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 1            (Thereupon, Defendant's No. 5,                    1    intended so that he can put it on the commitment
 2         $200,000 Wire Transfer Document, was marked          2    letter.
 3         for Identification.)                                 3              And that commitment letter, besides
 4    BY MR. HOFFMAN:                                           4    the purpose of the credit, are all the terms and
 5         Q. Other than the $200,000 wire we just              5    conditions in order to grant the loan. And the
 6    talked about, what other -- you got to let me             6    commitment on behalf of the client, what is the --
 7    finish.                                                   7    how they intend to pay back the loan.
 8         A. I'm sorry. It was a transfer?                     8              MR. HOFFMAN: Off the record for a
 9         Q. I've got to start over now.                       9          second.
10            Other than the $200,000 wire reflected           10              (Whereupon, a short break was taken
11    in Exhibit 5, what other evidence is Blue Bank           11          and, upon reconvening, the following
12    relying on in stating that the loan was not used         12          proceedings were had:)
13    for working capital?                                     13              (Whereupon, Interpreter Edgar Chacon
14         A. We are not only basing it on the                 14          withdrew from the room and was replaced by
15    confirmation that it was not going to be used as         15          Interpreter Gustavo Lairet.)
16    working capital, but also the information that was       16              THE COURT REPORTER: Raise your right
17    provided, I mean their presence in other countries,      17          hand, please.
18    how successful the product was.
                                                               18              Do you solemnly swear to interpret
19         Q. Let me cut you off. You have to
                                                               19          from English to Spanish and from Spanish to
20
                                                               20          English to the best of your ability?
      answer my question. I wasn't asking you about
21
                                                               21              THE INTERPRETER: I do.
      that. I'm trying to focus on the working capital
22
                                                               22              MR. HOFFMAN: Can you read back the
      position.
                                                               23          last question and answer?
23            Other than the $200,000 wire reflected
                                                               24              (Thereupon, a portion of the record
24    in Exhibit 5, why else does Blue Bank think that
                                                               25          was read by the court reporter:
25    the loan was not intended to be used for working


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 1    capital?                                                  1             "Question: Is there anything in the
 2          A. The working capital has to pay for               2         loan documents that you are aware of that
 3    suppliers, has to pay for merchandise, has to pay         3         requires the funds be used for the purpose
 4    in order to produce, because their credit                 4         stated in the loan application?
 5    application is made on -- is based on that it's           5             "Answer: Yes. In the -- it is stated
 6    going to be invested in based on its good faith.          6         on a commitment letter that -- in a letter
 7             The bank grants them the credit;                 7         that was sent by the credit manager in that
 8    right? Of course just remember that we have to            8         email, he's requesting the purpose for what
 9    analyze the information that is provided to us. It        9         the funds are intended so that he can put
10    has to be true and correct information. And all          10         it on the commitment letter.
11    the money must be used for the purpose that appears      11             And that commitment letter, besides
12    in the application.                                      12         the purpose of the credit, are all the
13          Q. Is that -- is that contained -- is              13         terms and conditions in order to grant the
14    that part of the loan documents, to your                 14         loan. And the commitment on behalf of the
15    understanding?                                           15         client, what is the -- how they intend to
16          A. You mean --                                     16         pay back the loan.")
17          Q. Let me rephrase.                                17    BY MR. HOFFMAN:
18             Is there anything in the loan                   18         Q. Okay. So let's just circle back.
19    documents that you are aware of that requires the        19             In terms of the false statements that
20    funds be used for the purpose stated in the loan         20    Blue Bank alleges Mr. Hané made in connection with
21    application?                                             21    the loans, you've talked about the working capital
22          A. Yes. In the -- it is stated on a                22    representation, and I think that's all.
23    commitment letter that -- in a letter that was sent      23             What other false representations did
24    by the credit manager in that email, he's                24    Mr. Hané make?
25    requesting the purpose for what the funds are            25         A. When I reviewed the credit file, it


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 1    reflects the different documents that were obtained       1     read in the file one that says jorgehanelab.com.
 2    through the internet about the companies of the           2          Q. Okay.
 3    group Jorge Hané, the ones that were successful and       3              So -- so your assumption is that the
 4    the expectations that the company had about the           4     credit manager went to that website.
 5    near future. And they reflect constantly the              5          A. Looking in my hands the documents,
 6    growth of the product that they are producing.            6     yes.
 7          Q. Okay.                                            7          Q. You don't know that personally, but
 8              And these were internet searches                8     since the document was in the file, that's your
 9    conducted by the credit manager?                          9     assumption.
10          A. Within the procedures of following the          10          A. It is correct.
11    companies, it is included or contemplated that you       11          Q. And to the best of your knowledge,
12    should do a followup of information through the          12     what does Blue Bank claim was false on the
13    web.                                                     13     jorgehanelab.com website?
14          Q. So I just want to understand the                14              MR. RECOR: I'll object to -- it's a
15    process.                                                 15          contention interrogatories.
16              So Mr. Hané and Jorgehane Laboratories         16              To the extent you know personally, you
17    asked for a loan, they submit the credit                 17          can answer that.
18    application, and then Blue Bank goes onto the            18          A. Okay. It's not exclusively that web
19    internet to see if everything matches up.                19     page.
20          A. The argument or the question they are           20     BY MR. HOFFMAN:
21    saying is partially correct. It's not exclusively        21          Q. Let's take a step back.
22    on the internet, but also the documents that the         22              Nothing that I ask you today do I want
23    client provides us and the tools that the credit         23     an answer about exclusively. Unless I ask for
24    manager has to analyze.                                  24     something to be exclusive, assume that it's not.
25          Q. Okay.                                           25              So I just want to know, you had


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 1          A. And the members of the credit                    1    mentioned as one of the items -- you had mentioned
 2    committee.                                                2    as one of the false statements the jorgehanelab.com
 3          Q. I didn't ask if it was exclusively.              3    website, and I just want to know what those false
 4          A. My apologies. I understood that it               4    statements were.
 5    was exclusively.                                          5          A. That it is a successful business in
 6          Q. Don't worry about it.                            6    more than 100 countries with more than
 7             I just -- I'm just trying to figure              7    30,000 points of sales, and a business that is
 8    out the process, because you indicated that there         8    improving and constantly producing new products and
 9    were false statements on the internet.                    9    renovating itself, guarantying the consumers, or
10             So is it correct to say that, as part           10    the possible potential consumers, that product,
11    of his review of the application, the credit             11    that it is a business that they can feel secure or
12    manager went onto the internet and searched or           12    safe that the product that they are marketing is of
13    tried to verify the facts about Mr. Hané and the         13    excellent quality.
14    company?                                                 14          Q. And which of those statements are
15          A. The search, they are not only done              15    false?
16    through the placing the search of the name, but          16          A. That it is a successful business. It
17    also the emails, the companies, and the information      17    had a case that was pending -- or it was in the
18    provided by the client that indicates that they          18    process in Colombia that was being processed of
19    were promoting the product.                              19    false advertising or deceiving advertising, one of
20          Q. I don't understand.                             20    the affiliates.
21             Do you know what websites Blue Bank             21               So I think it's important so that you
22    looked at in connection with the internet research       22    can measure the risk that you are assuming that
23    portion of the credit process?                           23    when all the affiliates in the group are in a good
24          A. I cannot recall all of them. And I              24    financial situation that allows us as a bank to
25    didn't do the search either, but I recall that I         25    grant the credit or not.


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 1           Q. Okay.                                           1    Colombia, SAS.
 2              So at any point that you are aware of,          2          A. And also to the company
 3    did Mr. Hané tell anybody at Blue Bank go check out       3    Reducefatfast.com, LLC.
 4    my website to see how healthy my company is?              4          Q. That wasn't my question.
 5           A. It is something that is not                     5             Remember we had a whole conversation
 6    necessarily that the client requests to us because        6    about the $200,000 wire?
 7    it is a procedure for all and each one of the             7          A. Yes.
 8    bank's clients that request a credit.                     8          Q. So the same company you are saying he
 9           Q. So it's not like Mr. Hané comes to              9    made the false statements about is the same company
10    Blue Bank and says, look at my website. Instead          10    that received the $200,000 wire.
11    it's that he applies for credit, and as part of          11          A. And we don't have any type of
12    your procedures, you check out his website.              12    verification or guaranty how the money was used and
13           A. Together with the other documentation.         13    if it was for working capital.
14           Q. Not exclusively.                               14          Q. I just wanted to know if it was the
15           A. And it is important to mention --              15    same company.
16           Q. No. Let me just ask questions.                 16          A. If we're going to evaluate this as an
17           A. It is part of the answer.                      17    affiliate, that's what you are saying, you have to
18           Q. I think my question has been answered          18    provide us with all the information about that
19    already. Let me ask my next question.                    19    affiliate.
20           A. I would like to continue. It is                20          Q. That wasn't my question.
21    important.                                               21          A. That is my inquiry. That's what I'm
22           Q. But your attorney can ask you later.           22    concerned about.
23              So we talked about the false statement         23          Q. I ask questions. You answer
24    regarding working capital which Blue Bank alleges,       24    questions.
25    we've talked about the internet.                         25             I just wanted to --


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 1              Are there any other false statements            1           A. You can. That's fine.
 2    that Blue Bank contends Mr. Hané made?                    2           Q. I just wanted to make sure it was
 3          A. We were not given the information or             3    the -- that we're talking about the same company.
 4    provided the information that the company in              4           A. Yes.
 5    Colombia was being under an investigation by the          5           Q. Was there anywhere in writing that
 6    authorities of that country.                              6    Mr. Hané stated that his company was not under
 7          Q. Is this -- which company in Colombia             7    investigation by any government?
 8    are you talking about?                                    8           A. Can you repeat the question?
 9          A. I don't recall the exact name of the             9              MR. HOFFMAN: You can read it.
10    company, but -- it is one that declared bankruptcy,      10              (Thereupon, a portion of the record
11    but it is one of the companies that belongs to the       11           was read by the court reporter:
12    group.                                                   12              "Question: Was there anywhere in
13          Q. Is it the Jorgehane Laboratories                13           writing that Mr. Hané stated that his
14    Colombia, SAS; that one?                                 14           company was not under investigation by any
15          A. If I'm not mistaken, yes.                       15           government?")
16          Q. All right.                                      16           A. Not that I recall, but he didn't state
17              That's the same company that Blue Bank         17    it to the bank either.
18    took issue with receiving money from the loan.           18    BY MR. HOFFMAN:
19          A. The client is responsible of                    19           Q. In what document should Mr. Hané have
20    transferring that money, not us.                         20    stated?
21          Q. Right.                                          21           A. When you do a credit application, it
22              But I just -- earlier when we were             22    is important to provide all the information about
23    talking about working capital, you stated that, as       23    his businesses and the affiliate businesses.
24    an example of Mr. Hané misusing the loan funds,          24           Q. Did Mr. Hané sign a credit
25    that he transferred money to Jorgehane Laboratories      25    application?


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 1           A. He sent an email, electronic email               1           Q. The email that you were just referring
 2     with the application. And I don't recall if the           2    to, was that Exhibit 3?
 3     file has any signature.                                   3          A. Can I see it?
 4              MR. RECOR: Do you have the                       4             Yes.
 5           application?                                        5           Q. Other than what's stated in Exhibit 3,
 6              MR. HOFFMAN: I had a credit                      6    did Mr. Hané furnish any other information in
 7           application which was not prepared by him,          7    writing to Blue Bank?
 8           though.                                             8          A. Yes.
 9              Okay. Let's just get to that now                 9           Q. What is that?
10           then.                                              10          A. He didn't provide the information, but
11              (Thereupon, Defendant's No. 6, Credit           11    he ratified with his signature in the commitment
12           Application, was marked for                        12    letter where he commits to notify the bank against
13           Identification.)                                   13    any legal procedure against him or his business.
14     BY MR. HOFFMAN:                                          14    And, in this case, it's a credit to a business.
15           Q. I'm showing you what's been marked as           15    And he has to notify us because he can compromise
16     Exhibit 6, which on the top states "credit               16    the credit.
17     application."                                            17           Q. Okay.
18              When you were making references to a            18              Is that a reference to the commitment
19     credit application before, is Exhibit 6 what you         19    letter?
20     were referring to?                                       20          A. Yes.
21           A. No.                                             21           Q. Aside from the commitment letter, were
22           Q. Then what were you referring to?                22    there any other -- well, strike that.
23           A. The credit application is another               23              Aside from Exhibit 3 and the
24     document. This is an internal document.
                                                                24    commitment letter, were there any other documents
25              The credit application is when the
                                                                25    furnished to Blue Bank which were false?

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 1     client expresses that he wants a credit to be given       1          A. The commitment letter in this exhibit
 2     to him by the bank.                                       2     and the information that he gave us about his
 3           Q. Is there a form that he fills out?               3     products.
 4           A. Not that I recall.                               4          Q. Okay.
 5           Q. So that the client credit application            5             Where is that contained in writing?
 6     could be verbal.                                          6          A. If I'm not mistaken, there is an email
 7           A. It should be in writing.                         7     where he notifies us about the products and how
 8           Q. Okay.                                            8     successful the business is.
 9              Is this one in writing, Mr. Hané's in            9             I can verify -- I can review --
10     writing?                                                 10          Q. I'll stop -- I'll wait here.
11           A. I remember that there is an email               11             What are you talking about?
12     where he requests and he indicates if he's in            12             MR. RECOR: Do you want me to show
13     agreement with the credit and the terms.                 13          him?
14           Q. I have not seen that email.                     14             MR. HOFFMAN: The only emails --
15              Did you see that email when you were            15             MR. RECOR: I don't want to coach him,
16     preparing for today's meeting?                           16          but --
17           A. I think I saw it this morning where it          17             MR. HOFFMAN: The only emails that I
18     talks about the interest rate and that he can give       18          have are the ones that I've shown. So I
19     a personal guaranty. This credit application is          19          just want to know what he's talking about.
20     the one that's prepared by the credit manager.           20          Let's let him find it.
21              MR. HOFFMAN: Off the record for a               21             MR. RECOR: I think what he's talking
22           second.                                            22          about is not in front of him, but it was
23              (Whereupon, an off-the-record                   23          produced to you.
24           discussion was had:)                               24             MR. HOFFMAN: There was a different
25     BY MR. HOFFMAN:                                          25          document that was produced?


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 1             MR. RECOR: Right.                              1         Q. Okay.
 2             MR. HOFFMAN: That was furnished to             2            If I'm correct, you testified earlier
 3         Blue Bank? All right. Let's see it.                3    that Nelson Mezerhane is not a member of Blue Bank.
 4             MR. RECOR: Well, let me ask him if             4         A. Correct.
 5         this is what it is.                                5         Q. Who is Violy McCausland?
 6             MR. HOFFMAN: Let me just see what it           6         A. I don't know who it is.
 7         is. Okay.                                          7            What I can see is that it is one of
 8             This was in -- where was that                  8    the beneficiaries of the wire transfers that was
 9         produced?                                          9    sent by Jorge, the company of Jorge Hané. But I
10             MR. RECOR: It's in the drop box.              10    don't know who it is.
11             MR. HOFFMAN: Not in the BBI emails in         11         Q. Okay.
12         the drop box.                                     12            And page 2 of Exhibit 7 about
13             Okay, let's -- back one second.               13    Jorgehane Laboratories --
14             (Whereupon, a short break was taken           14         A. Correct.
15         and, upon reconvening, the following              15         Q. -- you can take some time to read it.
16         proceedings were had:)                            16            I want to know what do you believe is
17             MR. HOFFMAN: Let's mark this as               17    false on this page?
18         Exhibit 7.                                        18         A. As I indicated before, this is the web
19             (Thereupon, Defendant's No. 7, Emails,        19    page that I was referring to and that contains
20         was marked for Identification.)                   20    information that is not 100 percent true.
21             MR. RECOR: It has my email because I          21            One of the pages, one of the
22         printed it from my drop box.                      22    information, if we read carefully the email, it
23             MR. HOFFMAN: Do you have a second             23    indicates that it's been sold in more than 35 --
24         copy of that?                                     24    no, 45,000 pharmacies in Latin American countries,
25             MR. RECOR: That's the only one I
                                                             25    Argentina, Colombia, Peru, Costa Rica, Honduras,


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 1         have.                                              1    Nicaragua, Panama, Guatemala, El Salvador.
 2             MR. HOFFMAN: We'll have to pass it             2           Q. What information does Blue Bank have
 3         back and forth.                                    3    to indicate that's not true?
 4             MR. RECOR: Do you want to make a copy          4           A. If the information is true or correct,
 5         of it?                                             5    this transmits to me or gives me the information
 6             MR. HOFFMAN: I probably should.                6    that this is a healthy company, and that is what
 7             (Off the record.)                              7    I'm concerned in order to evaluate the credit.
 8    BY MR. HOFFMAN:                                         8           Q. So in Blue Bank's opinion, because the
 9         Q. I'm going to be handing you what's              9    company went out of business, that shows that this
10    been marked as Exhibit 7. This has two emails on       10    information in Exhibit 7 was false.
11    it. On the bottom of the page it references an         11               MR. RECOR: Object. It's a contention
12    email on October 29, 2015 at 1:23 p.m. from            12           interrogatory. But you can answer.
13    j@jorgehanelab to Nelson Mezerhane.                    13           A. Let me explain to you once more.
14         A. Correct.                                       14               We are not basing it exclusively in
15         Q. Can you read that email for me?                15    this type of email. We cannot conclude, but it is
16         A. As you previously indicated, from              16    part of the information that was received that is
17    jorgehanelab to Nelson Mezerhane with a copy to        17    provided to the bank in order to evaluate the
18    Violy McCausland, and it says:                         18    credit.
19             "Hello, Nelson. I'm sending you more          19               And here it states that it is in
20         information about Jorgehane Laboratories          20    countries like Colombia, for example, that it is
21         and Jorge Hané. A hug. Jorge."                    21    true, but Mr. Jorge Hané did not mention that the
22         Q. And is this one of the emails that --          22    company was in the process of an investigation by
23    or one of the written documents that Blue Bank is      23    the authorities for false advertising.
24    asserting was falsely provided by Mr. Hané?            24               And if you read this information, what
25         A. Yes. Yes.                                      25    is showing or transmitting, that it is a company


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 1    that is not -- I cannot conclude that this company        1          A. Not based on that email. The decision
 2    is close to having any type of financial problems.        2    was not made based on the email.
 3    That was only known by the person that was sending        3          Q. Was the email a part of the
 4    the information.                                          4    decisionmaking process?
 5    BY MR. HOFFMAN:                                           5          A. Yes.
 6          Q. Let me follow up on that.                        6          Q. Okay.
 7              Going back to page 1 of Exhibit 7, so           7              So the email from Mr. Hané to Nelson
 8    this was an email from Mr. Hané to Nelson                 8    Mezerhane was part of Blue Bank's due diligence?
 9    Mezerhane; correct?                                       9          A. Not necessarily, because it is in the
10          A. Correct.                                        10    file. I cannot confirm that.
11          Q. And Blue Bank is considering that the           11              Remember that I was not there at the
12    equivalence of information furnished to Blue Bank.       12    time.
13          A. Information that can help us to                 13          Q. I'm aware of that. But you are here
14    evaluate the credit, yes.                                14    today testifying for Blue Bank.
15          Q. So when Mr. Hané sends information to           15              You understand that; right?
16    Mr. Mezerhane, that's to help Blue Bank make its         16          A. Perfectly.
17    decision whether to loan money.                          17          Q. And Blue Bank has alleged that
18          A. No.                                             18    Mr. Hané provided false written statements to Blue
19          Q. Then why are we talking about this              19    Bank in order to get the loan. You are aware of
20    email?                                                   20    that?
21          A. Because it's not that it was sent to            21          A. Correct.
22    Mr. Mezerhane.                                           22          Q. Is Exhibit 7 one of those false
23              It's because it helps us as part of            23    documents?
24    the credit file.                                         24          A. Of course, yes.
25          Q. My original question that got us                25          Q. Okay. Good.


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 1    talking about this email was what written documents       1               So when Mr. Mezerhane received this
 2    were furnished by Mr. Hané to Blue Bank that were         2     email, he received it on behalf of Blue Bank.
 3    false?                                                    3           A. No.
 4             You told me -- correct me if I'm                 4           Q. What am I missing here? How are the
 5    wrong -- that the working capital representation,         5     last two things you just said possible at the same
 6    the email in Exhibit 3.                                   6     time? And let me put a finer point on it.
 7         A. Correct.                                          7               How could an email not sent to Blue
 8          Q. The commitment letter, and Exhibit 7.            8     Bank be part of Blue Bank's decisionmaking?
 9         A. And other additional information.                 9           A. Let me put it this way.
10          Q. Well, let's -- we'll get to the                 10               When you use a banking reference, it
11    additional information.                                  11     doesn't necessarily mean that the other bank is
12             Do you consider the email contained in          12     basing it on the information that it received. The
13    Exhibit 7 from --                                        13     information helps or assists.
14         A. Correct.                                         14               This is not a process where you can
15          Q. -- information -- strike that.                  15     evaluate evidence, No. 1, No. 2, No. 3. It is a
16             Do you consider Mr. Hané's email on             16     process of credit approval. It's not being done by
17    October 29, 2015 to Nelson Mezerhane email               17     Mr. Mezerhane. It's by the directors and the
18    furnished -- information furnished to Blue Bank for      18     people that work in the bank that are required --
19    the purpose of considering the loan?                     19     this is a responsibility to guaranty to the
20         A. Part of the information.                         20     governing or regulators that you do the due
21          Q. I'm not asking if it's the only                 21     diligence in order to approve the credit in order
22    information.                                             22     to compromise the resources or the funds of our
23             I just want to know if this email is            23     clients.
24    one of the items that Blue Bank relied on in making      24               And in that condition, this is why I'm
25    its decision to loan money.                              25     here today defending the interests of my clients of


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 1    Blue Bank representing Blue Bank.                         1           Q. What was Mr. Castillo's position with
 2          Q. I get it. And I don't want to be here            2     Blue Bank in 2015?
 3    all day.                                                  3           A. He didn't have any position at Blue
 4          A. If that's necessary. I'm really                  4     Bank, Mr. Castillo.
 5    interested in this because it is important to             5              Now he's part currently of the credit
 6    clarify this.                                             6     committee.
 7          Q. I'm with you. We're on the same page.            7           Q. But in 2015, he was not.
 8          A. And that's why I travel from Curaçao             8           A. I'm going to talk now on a personal
 9    especially for this appointment.                          9     basis so that I can explain.
10          Q. I hope you enjoy your time in Miami,            10              Blue Bank, like the other offshore
11    but let's go through this.                               11     banks that are located in Curaçao, they have people
12             I just need to know so I can prepare            12     that send clients, and they have also computer
13    for trial, is this one of the false emails that          13     sites that provide information, the legal
14    Blue Bank is claiming Mr. Hané provided in order to      14     department that provide assistance like Brian, and
15    obtain a loan?                                           15     that doesn't mean that they are part of the bank.
16          A. That and several information that he            16           Q. So they provide assistance to the
17    omitted.                                                 17     bank.
18          Q. I didn't ask about that. I'm asking
                                                               18           A. Or they provide information or they
19    about this email, Exhibit 7 only.
                                                               19     remit said clients to see if they can qualify
20          A. I'm helping you prepare for the case.
                                                               20     through Blue Bank or not.
21          Q. No.
                                                               21              At no time this implies that they are
22
                                                               22     going to make a decision to approve the credit. We
               I just want to know, is this one of
23
                                                               23     don't have the responsibility to approve the
      the emails -- when I say "this," I mean
24
                                                               24     credit.
      Exhibit 7 -- that Blue Bank is relying on when it
                                                               25           Q. Okay.
25    claims that Mr. Hané furnished false statements in


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 1     order to obtain a loan?                                  1          A. In accordance with the people that are
 2           A. That one and other emails and                   2    legally authorized by the supervisory of the
 3     information.                                             3    regulators, their procedures, they are perfectly or
 4               MR. HOFFMAN: We're getting to the              4    clearly established. And it's not based in the
 5           point that this is nonresponsive.                  5    decision of the people that provide us with
 6               I just need to know --                         6    information.
 7               MR. RECOR: He's told you yes and               7          Q. Are those procedures in writing?
 8           something else.                                    8          A. Yes.
 9               What else do you want?                         9          Q. And those procedures come from the
10     BY MR. HOFFMAN:                                         10    government of Curaçao?
11           Q. So the answer -- without the something         11          A. The procedures are prepared based on
12     else, is the answer yes?                                12    the norms and regulations of the regulating
13               I understand that there were other            13    institution.
14     things relied on.                                       14          Q. But who prepares them?
15               Just yes or no, is this one of the            15          A. It is prepared by the bank, and it is
16     items?                                                  16    reviewed by the internal auditors and the external
17           A. Yes.                                           17    auditors also and by the Central Bank.
18           Q. Okay.                                          18          Q. I don't believe I have a copy of those
19               If you look at Exhibit 7 on the top,          19    procedures, but I believe they were requested. So
20     you see Nelson Mezerhane forwarded the email to         20    I'm going to reiterate that request, that I do need
21     Jaime Castillo.                                         21    a copy of those procedures.
22               I believe you testified earlier that          22              MR. RECOR: Do you want to take a
23     in 2015, Mr. Castillo was not part of Blue Bank.        23          break and discuss that?
24     Is that correct?                                        24              MR. HOFFMAN: Sure.
25           A. It is not correct.                             25              Go off for a second.


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 1              (Whereupon, an off-the-record                  1         Q. So I'm now making reference to
 2          discussion was had:)                               2    Exhibit 6 which is titled Credit Application.
 3     BY MR. HOFFMAN:                                         3              Do you have that in front of you?
 4          Q. So my last -- I think the last thing            4         A. Yes, sir.
 5     that was on the record is me requesting a copy of       5         Q. Who prepared this credit application?
 6     whatever those internal procedures are.                 6         A. As indicated there, the author is
 7          A. I'm going to check them and I will              7    Mr. Ramsey Martinus.
 8     give them to you.                                       8         Q. So if you look to the right of Mr.
 9          Q. I appreciate that. And I recognize              9    Martinus's name, you see a credit application date
10     we're under confidentiality. So I'm not going to       10    of November 3rd, 2015, and a revision date of
11     do anything with them.                                 11    December 1st, 2016.
12              MR. RECOR: During the break, my               12              Do you see what I'm referring to?
13          understanding is that they are available          13         A. Yes, sir.
14          online at the public website for the              14         Q. Do you know why this credit
15          Central Bank of Curaçao.                          15    application was revised?
16              If there is something different, which        16         A. It is the normal procedure that
17          is new information to me, then we'll look         17    indicates the date where the credits are going to
18          into that and get back to you.                    18    be reviewed, the complete documentation. That
19              MR. HOFFMAN: He testified that they           19    doesn't mean that you don't do a followup during
20          were prepared inhouse.                            20    the year.
21              MR. RECOR: I understand.                      21         Q. Okay.
22     BY MR. HOFFMAN:                                        22              So if I'm correct, the loan was issued
23          Q. Are you aware if Jaime Castillo was            23    in the first week of November 2015; is that
24     aware that Jorge Hané Colombia was under               24    correct?
25     investigation?                                         25         A. Was reviewed.


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 1          A. No, not as far as I know.                       1           Q. Not reviewed.
 2          Q. No, you don't know, or no, he didn't            2              I'm talking about the loan, not the
 3    know?                                                    3    credit application.
 4          A. I cannot answer on behalf of                    4              The money was provided in early
 5    Mr. Castillo.                                            5    November; correct?
 6          Q. So you don't know.                              6           A. I would have to check when it was
 7          A. I don't know.                                   7    credited to the account to give you an exact date.
 8          Q. Do you know if Nelson J. Mezerhane              8           Q. But what you are saying it's possible
 9    knew that Mr. Hané's Colombian entity was under          9    -- strike that.
10    investigation?                                          10              You are saying it would be normal for
11          A. I cannot respond either for                    11    this credit application to be revised even after
12    Mr. Mezerhane, but I assume that he didn't know         12    the loan is issued.
13    because we are not going to give a credit to a          13           A. It is correct.
14    person that has financial problems.                     14           Q. Are you aware if there is an earlier
15          Q. But you are aware that Coltefinanciera         15    version of this credit application in Blue Bank's
16    as of October of 2015 had existing loans to Mr.         16    file?
17    Hané's Colombian entity; right?                         17           A. Not as far as I can recall.
18          A. I read it yesterday.                           18           Q. So when you looked through Blue Bank's
19          Q. That was the first time you became             19    file -- I'm sorry, take a step back. I was asking
20    aware of that?                                          20    that incorrectly.
21          A. I heard about it, but I didn't have            21              So this revision occurred more than a
22    the documents or the amounts.                           22    year after the loan was issued.
23          Q. Okay.                                          23           A. It is not correct.
24             The credit application, No. 6?                 24           Q. Well it was revised -- the revision
25          A. Yes.                                           25    date is December 1st, 2016.


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 1           A. The credit was requested on                     1     is referring to?
 2    November 3rd, and the credit manager indicates that       2           A. I don't know.
 3    it's going to be reviewed again on December -- in         3           Q. And then just turn to the second to
 4    December, 2016.                                           4     last page of the exhibit.
 5           Q. So your testimony is this was prepared          5              Do you see "recommendation" in the
 6    -- strike that.                                           6     middle?
 7              So your testimony is that the version           7              "Credit is highly being recommended by
 8    that's Exhibit 6 is the one -- was the one prepared       8           head office in Miami based on client's
 9    on November 3rd, 2015.                                    9           weight loss products in the market for
10           A. That is in the file.                           10           years."
11           Q. Is that a yes?                                 11           A. Correct.
12           A. I don't know. I don't remember if              12           Q. Again, you don't know who the head
13    there is another one, but this could be.                 13     office in Miami is a reference to?
14           Q. I'm just trying to get what the date           14           A. Not that I recall or that I know. And
15    of this credit application.                              15     I repeat again, it is a recommendation.
16              Is the credit application date                 16              For example, I can recommend Apple as
17    November 3rd, 2015?                                      17     a successful company in the world of computing, of
18           A. Yes.                                           18     technology. That doesn't mean that if Apple is
19           Q. Okay.                                          19     providing false information, it means that I'm
20              Turn to page 2 of Exhibit 6. You see           20     doing it to try to cheat the bank.
21    under account relationship experience, which is the      21           Q. Okay.
22    third bolded paragraph, it states:                       22              Are you aware that Mr. Mezerhane was
23              "This is a new relationship strongly           23     formally a personal friend of Mr. Hané?
24           recommended by our head office in Miami."         24           A. Not as far as I know.
25              Who is the head office in Miami?               25           Q. You didn't know that?


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 1          A. We don't have a main office here.                1           A. No. Not that I recall.
 2    It's only in Curaçao.                                     2           Q. Couple of more questions on this
 3          Q. So what does this mean?                          3     document.
 4          A. It's the head office of the Mezerhane            4               The interest rate charge was 10
 5    group.                                                    5     percent; is that correct? It may not be on this
 6          Q. So it's a reference to Mr. Castillo              6     document.
 7    and Mr. Mezerhane; correct?                               7           A. Yes, it is. 10 percent.
 8          A. Not necessarily both of them. It                 8           Q. Okay.
 9    could also be another one of the directors that is        9               How did Blue Bank come up with the 10
10    present in Miami.                                        10     percent interest rate?
11          Q. Who is that?                                    11           A. The decision of how this interest rate
12          A. At the time I don't know who were the           12     was reached, I don't personally know the
13    persons that were members of the group.                  13     information. I don't know the rates of interest
14              Remember that I was not there in 2015,         14     that were in the market at the time of this loan,
15    and it doesn't mention here who recommended him.         15     but it is an interest rate that is not outside of
16    And it is a recommendation.                              16     the market.
17          Q. So there is nothing in the file that            17           Q. That was my next question.
18    indicates who in Miami strongly recommended the          18               Do you consider this a high interest
19    loan?                                                    19     rate for the type of loan being provided?
20          A. Not that I recall.                              20           A. No. No.
21          Q. We reviewed earlier an email from               21           Q. What about that the loan had a
22    Mr. Castillo introducing Mr. Hané.                       22     one-year --
23              Do you recall?                                 23           A. Not because of the risk that you are
24          A. Yes.                                            24     assuming.
25          Q. Isn't it likely that that's what this           25           Q. The loan had a maturity date of


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 1     November 4, 2016; correct?                              1             MR. HOFFMAN: This is signed
 2           A. Where can I see that?                          2         October 28th and this is signed
 3               Okay. Yes.                                    3         November 4th.
 4           Q. Is that -- strike that.                        4             (Thereupon, Defendant's No. 8,
 5               Is a one-year loan typical for loans          5         Commitment Letter, was marked for
 6     of this type?                                           6         Identification.)
 7           A. Yes.                                           7    BY MR. HOFFMAN:
 8           Q. Are you aware if the credit                    8          Q. So I'm showing you the commitment
 9     application was ever shown to Mr. Hané?                 9    letter without the enclosures as Exhibit 8 now.
10           A. No. It's for the internal use of the          10              When we were talking before about the
11     bank. It is not a document that is shown to the        11    false documents that Mr. Hané allegedly provided to
12     clients.                                               12    Blue Bank, you referenced the working capital
13           Q. Just for the record, I see he's               13    representation, Exhibit 3, Exhibit 7, and a
14     reading the document in English. So he can read        14    commitment letter.
15     English; correct? Because if not, we can have it       15              What in this commitment letter does
16     translated.                                            16    Blue Bank contend is false?
17           A. My native tongue is Spanish. I prefer         17         A. As is stated in its name, it's a
18     to have the assistance of the interpreter.             18    commitment letter where the client commits to
19               MR. RECOR: Let me just state for the         19    comply with all the terms and conditions
20           record that Exhibit 8 is not the full            20    established.
21           document as it seems it doesn't include the      21             And one of the parts here in this
22           terms and references -- terms and                22    commitment letter is that the client is required to
23           conditions or the personal guaranty that's       23    notify the bank immediately any lawsuit or legal
24           at issue.
                                                              24    proceeding that is being done against them or some
25               MR. HOFFMAN: I have a separate --
                                                              25    -- something that compromises the commitment


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 1         this is what I printed out from the drop            1    acquired in this document, and to provide all the
 2         box. And I have a contract suretyship as a          2    necessary information to the bank when there are
 3         separate document.                                  3    important changes or that compromise the financial
 4             Do you have a complete copy there?              4    situation of the company.
 5             MR. RECOR: It's in this --                      5          Q. Okay.
 6             MR. HOFFMAN: What was given to me               6             So you are saying --
 7         today?                                              7          A. And if I'm not mistaken also, there is
 8             MR. RECOR: Yes. And that document at            8    no notification to the bank from Mr. Jorge Hané as
 9         the end references that it incorporates the         9    he agreed committed in this agreement.
10         guaranty and the general terms and                 10          Q. So to restate what you are saying, the
11         conditions.                                        11    reason this document constitutes a false statement
12             MR. HOFFMAN: This is a problem                 12    is because Mr. Hané did not comply with the
13         because I'm getting this --                        13    requirement to notify the bank of legal proceedings
14             MR. RECOR: I assure you have the               14    against it.
15         general terms and conditions, which I think        15          A. As he agreed to do so. He hid
16         are actually an exhibit to the first               16    information.
17         amended complaint.                                 17          Q. I'm just trying to figure out the
18             MR. HOFFMAN: No, I don't think you             18    timing of it.
19         attached any exhibits to -- this is a              19             Is the problem that after he signed
20         21-page document. There is nothing                 20    this, he should have provided notice and then did
21         attached to the complaint.                         21    not?
22             MR. RECOR: Well, I'm positive you              22          A. Correct.
23         have this in a drop box if it's not                23          Q. Okay.
24         attached to the complaint. And you have            24          A. This is a document that obliged both
25         this we gave you today as well.                    25    parties.


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 1          Q. I understand.                                    1          A. Yes.
 2          A. And if I read it in detail, I can tell           2          Q. Did Blue Bank have an attorney in that
 3    you in which other areas he did not comply with           3    case?
 4    this commitment.                                          4          A. Not that I recall.
 5          Q. Who is the borrower?                             5          Q. Did Blue Bank collect any money in
 6          A. Jorgehane Laboratories Corp.                     6    that case?
 7          Q. Which, to your understanding, is a               7          A. Not that I recall.
 8    Florida company; right?                                   8          Q. Did Blue Bank obtain any documents
 9          A. Correct.                                         9    during that bankruptcy?
10          Q. Are you aware of any legal proceedings          10          A. Not that I recall or that is in the
11    against Jorgehane Laboratories Corp., the Florida        11    file.
12    company?                                                 12          Q. Did you review Mr. Hané's bankruptcy
13          A. Not that I -- but the affiliates as he          13    filings?
14    indicated, as you mentioned earlier, the affiliate.      14          A. I saw it yesterday. I reviewed it
15          Q. So just to make sure I understand the           15    yesterday, but not in detail. It is quite a large
16    position. The issue is that an affiliate of the          16    document.
17    borrower had a legal proceeding against it.              17          Q. Is there somebody else at Blue Bank
18          A. And it was going to compromise all the          18    that did review Mr. Hané's bankruptcy filings?
19    other companies because, if not, all of them             19          A. The persons that are responsible are
20    wouldn't have gone bankrupt.                             20    not in the bank. The managing director and the
21             If this company was able to continue            21    credit director, they are no longer with the bank,
22    paying the loan without -- this company requested a      22    the ones that were there at the time.
23    credit and has other affiliates that were using the      23          Q. So as of today, there is no one in
24    funds as part, that means that the financial impact      24    Blue Bank more knowledgeable than you about the
25    that affects the other companies should have been        25    contents of Mr. Hané's bankruptcy filings.


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 1    notified to the bank.                                     1           A. Correct. That is also another matter
 2          Q. So again, this goes back to what we              2     that is with the attorney that is assisting us.
 3    said before. The problem was after this document          3           Q. Don't tell me what you talked about
 4    got signed -- when I say "this document," I'm             4     with your attorney.
 5    referring to the commitment letter -- Mr. Hané had        5               Do you believe -- and by you, I mean
 6    obligations to provide notice to the bank and             6     Blue Bank -- that Mr. Hané is hiding assets from
 7    didn't. Correct?                                          7     the bankruptcy court?
 8          A. Correct.                                         8               MR. RECOR: Object to the extent it's
 9          Q. Did Blue Bank ever do any due                    9           a contention interrogatory.
10    diligence on Mr. Hané's personal finances?               10               MR. HOFFMAN: He still should answer.
11          A. Not that I recall that it is in the             11               MR. RECOR: To the extent you know or
12    file.                                                    12           you think --
13          Q. So Mr. Hané's tax returns -- personal           13               THE WITNESS: Can you repeat the
14    tax returns are not in the file?                         14           question?
15          A. I don't know if it's his or the ones            15               (Thereupon, a portion of the record
16    for the company.                                         16           was read by the court reporter:
17              Can I review it?                               17               "Question: Don't tell me what you
18          Q. Yes.                                            18           talked about with your attorney.
19          A. This is Hane Laboratories Corp. It              19               Do you believe -- and by you, I mean
20    belongs to the business.                                 20           Blue Bank -- that Mr. Hané is hiding assets
21          Q. Okay.                                           21           from the bankruptcy court?")
22              Before I go to that, you are aware             22               THE WITNESS: Mr. Jorge Hané did not
23    that the Colombian entity, Jorgehane Laboratories        23           provide all the information about all the
24    Colombian, SA, filed bankruptcy in Colombia;             24           companies that he had at the time. But
25    correct?                                                 25           that is the responsibility of where he


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 1          filed for bankruptcy to determine if he hid         1    file there should be Blue Bank cannot give an
 2          something. But there are companies that             2    opinion for the decisions made by the trustee. We
 3          don't appear there that should be                   3    are not in agreement because all the information
 4          registered or included.                             4    was not provided, all the required information was
 5     BY MR. HOFFMAN:                                          5    not provided.
 6          Q. Did Blue Bank file a separate lawsuit            6           Q. Do you know why Blue Bank did not
 7     against Jorgehane Laboratories Corp.?                    7    object to the settlement?
 8          A. Where?                                           8           A. I don't know.
 9          Q. Anywhere.                                        9           Q. If Blue Bank contends that Mr. Hané
10          A. Not that I recall.                              10    did not produce all the documents he was required
11          Q. I'm going to ask you about some of the          11    to produce, why didn't you say something to the
12     businesses referenced in the complaint.                 12    Judge about it?
13              Jorge Hané Holdings, LLC, are you              13               MR. RECOR: I'll object and instruct
14     familiar with this entity?                              14           him not to answer to the extent it requires
15          A. With the name.                                  15           attorney-client privileged information.
16          Q. Do you know if this business ever               16           A. I'll follow the recommendation of --
17     operated?                                               17    BY MR. HOFFMAN:
18          A. I don't know.                                   18           Q. So it's based on -- so it was based on
19          Q. Jorgehane Laboratories, SA?                     19    communications with your lawyer. Don't tell me
20          A. No.                                             20    about that.
21          Q. Never heard of it?                              21           A. I won't tell you anything.
22          A. I heard about it, but I'm not familiar          22           Q. I think I'm close to done.
23     with it. I don't have the details.                      23               Let me take a minute out with Mr. Hané
24          Q. Jorgehane Laboratories de Centro                24    and we can wrap it up.
25     America, are you familiar with that entity?             25               (Whereupon, a short break was taken


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 1          A. No.                                              1          and, upon reconvening, the following
 2          Q. Because It Works, LLC?                           2          proceedings were had:)
 3          A. They are companies that I could have             3    BY MR. HOFFMAN:
 4    heard or saw when I was reviewing the file.               4          Q. How many employees does Blue Bank
 5          Q. As you sit here today, you don't                 5    have?
 6    remember --                                               6          A. Right now we are 14 employees.
 7          A. I would have to review the file in               7          Q. All in Curaçao?
 8    more detail.                                              8          A. The 14, yes.
 9          Q. And then Reducefatfast.com, LLC?                 9          Q. Are there any other employees,
10          A. I think that that was one of the                10    executives or officers, directors outside of
11    companies that received the wire transfers.              11    Curaçao?
12          Q. Other than that, do you know anything           12          A. Yes.
13    else about the company?                                  13          Q. And who's that?
14          A. I think it's one of the businesses              14          A. We have them in Venezuela, persons
15    that the wife of Dr. Hané is the owner or a wire         15    recommend clients to us in Miami, we have directors
16    was sent. She's a director or --                         16    also in Miami.
17          Q. Okay. That's fine.                              17          Q. You said you've been working for Blue
18             Are you aware that Mr. Hané reached a           18    Bank since, I believe, it was April of 2016?
19    settlement with the trustee in his bankruptcy case?      19          A. August 2016.
20          A. Yes.                                            20          Q. In your time there, have you worked on
21          Q. Have you reviewed that settlement?              21    other loans except for the one we're talking about
22          A. No.                                             22    today?
23          Q. Does Blue Bank think that settlement            23          A. Other loans also.
24    was fair?                                                24          Q. Based in the United States?
25          A. I did not review it. In the credit              25          A. Yes.


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 1           Q. Would you say in a general sense that           1     losing money at the time of the loan?
 2     the loan to Jorge Hané Laboratories Corp. is a           2           A. It doesn't mean the company during the
 3     typical loan for Blue Bank?                              3     life of a company. You could have a time period
 4              MR. RECOR: Objection as to form.                4     that you have losses and you could see that it was
 5           A. It is within the parameters of the              5     recovering according to the information that was
 6     loans that we approve. The credit doesn't have           6     supplied to us.
 7     anything in particular.                                  7               And as a result of that information
 8     BY MR. HOFFMAN:                                          8     and that the request for the loan was for working
 9           Q. Issuing a loan for $300,000 for one             9     capital and the sales that were shown to us, we
10     year --                                                 10     considered that it was a company that there was no
11           A. Correct.                                       11     risk of being insolvent. And at no time we were
12           Q. -- is something that Blue Bank does            12     told or notified that the company was having
13     frequently or often?                                    13     financial problems.
14              MR. RECOR: Objection as to form.               14           Q. So is it your testimony that Blue Bank
15           A. It depends. It depends on what you             15     didn't issue this loan just because Mr. Castillo
16     call frequently.                                        16     and Mr. Mezerhane asked the bank to do it?
17              To us, we are a financial institute or         17           A. We didn't do it based on that
18     entity, and our job is to approve loans and to          18     recommendation or those recommendations. The
19     invest money, and purchase and sale of currency is      19     Central Bank authorities do not allow that, that we
20     the nature of the financial institution, to loan        20     issue credits without doing the due diligence and
21     money. Different time periods, different person,        21     just following the recommendation of a person that
22     different companies.                                    22     is known to the bank.
23     BY MR. HOFFMAN:                                         23               It is our responsibility to guaranty
24           Q. Why didn't Blue Bank request any               24     the funds that our clients have. We have more than
25     collateral?                                             25     2,000 clients and we have the responsibility to


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 1          A. We have a guaranty of Mr. Jorge Hané             1    guard their deposits.
 2    that is real.                                             2          Q. Because it looks to me that the only
 3          Q. What about collateral?                           3    actual document that you received from Mr. Hané was
 4               THE INTERPRETER: That's the                    4    two tax returns. There is no financial statement,
 5          collateral. I'm sorry. I made a mistake.            5    there is no bank statement, nothing else in the
 6          That's the collateral.                              6    file. And it strikes me that's highly unusual when
 7          A. Depending on the credits that we                 7    somebody applies for a mortgage, they need
 8    approve or give, we can request a collateral or           8    thousands of pages of documents.
 9    not. It depends on if it's long-range. It depends         9              Wouldn't you at least admit that you
10    on if it's a real estate loan. But the usual that        10    treated due diligence lightly at Blue Bank?
11    is typical for this type of business that requests       11          A. I respect your opinion, but I don't
12    a credit for $300,000 is not a large amount. We          12    share it.
13    evaluate the ability of payment that the business        13          Q. So it's not --
14    has in accordance with the information that the          14          A. I haven't finished yet.
15    client supplies to us, because none of the clients       15              I was not there at the time that the
16    that we have as of this day is going to request a        16    credit was approved, but based in my experience of
17    credit if they are not with the disposition -- they      17    what I have seen at Blue Bank is that they guaranty
18    don't have the disposition of paying it back.            18    that you are complying with everything that is
19               And reviewing the studies that were           19    established by the regulator. And the loans can
20    done and based on the information obtained that it       20    have a recommendation, be recommended, but that
21    was a successful company with the presence in more       21    doesn't mean that they are going to be approved
22    than 100 countries with more than 45,000 pharmacies      22    based on a recommendation, because you have to
23    where they were, it was considered to be a risk          23    remember it is not money from the owners. It is
24    that we could assume without a collateral.               24    money for the people that are saving the money
25          Q. Are you aware that the company was              25    there, money from the customers, or any other


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 1    person that makes a recommendation to us has no          1     Nelson Mezerhane?
 2    bearing or participation in the decision process         2          A. That I spoke to him or that I saw him?
 3    that we make.                                            3          Q. Let's go with you saw him.
 4          Q. So I know you testified earlier that            4          A. I had the opportunity to see him in a
 5    you are on the credit committee now.                     5     conference of the group idea in October -- I don't
 6          A. Correct.                                        6     recall the exact date.
 7          Q. Would you approve a loan where the              7          Q. When was the last time you spoke with
 8    only documents you received were two years of tax        8     him?
 9    returns showing the company was losing money?            9          A. I don't remember.
10          A. I repeat --                                    10          Q. Did you speak to him in connection
11          Q. No, I don't need you to repeat. Just           11     with this deposition?
12    it's conceivable that you would do it?                  12          A. No.
13          A. I'm not going to make the decision by          13          Q. Did you speak to him in connection
14    myself. I'm going to base my decision on the            14     with Mr. Hané's bankruptcy case?
15    recommendation of the credit manager --                 15          A. No.
16          Q. But would you be comfortable --                16          Q. Did you speak to him about the
17          A. -- and the rest of the members of the          17     Jorgehane Laboratories at all?
18    committee.                                              18          A. No.
19          Q. But would you personally be                    19              MR. HOFFMAN: I'm done.
20    comfortable with such a decision?                       20              Do you want to read or waive?
21          A. Yes.                                           21              MR. RECOR: I don't think we need a
22          Q. Okay. Just a few more questions.               22          stip; right? I would like to just attach
23             Do you know Nelson Mezerhane                   23          the protective order as an exhibit.
24    personally?                                             24              MR. HOFFMAN: Why don't you just do
25          A. Yes.                                           25          it?


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                                          Page 123                                                        Page 125
 1          Q. How do you know him?                            1             MR. RECOR: I'll attach as Exhibit 9
 2            MR. RECOR: Let me just object to the             2          the protective order entered into this
 3         extent there is two Nelson Mezerhanes.              3          case, an agreed protective order that
 4    BY MR. HOFFMAN:                                          4          provides the procedure after a deposition.
 5          Q. I'm talking about the father.                   5             If he orders, I'll take a copy.
 6         A. Okay.                                            6             MR. HOFFMAN: I have to talk to him.
 7            As I already mentioned before, I                 7             (Thereupon, Defendant's No. 9,
 8    worked at a financial institution and I was              8          Protective Order, was marked for
 9    contacted to work for the group at the bank in           9          Identification.)
10    Curaçao. I met with his son and another of the          10             (Thereupon, the reading and signing of
11    directors for the bank. They did an interview and       11          this deposition was waived.
12    they verified -- did a background check of all my       12             The proceedings concluded at 3:30
13    information, background. But before that, I didn't      13          p.m.)
14    know any one of the persons that were in the            14
15    meeting, the first job interview.                       15
16            Afterwards on my second trip to Miami,          16
17    I was introduced to Dr. Mezerhane.                      17
18          Q. And that was the first time you met            18
19    him?                                                    19
20         A. Yes.                                            20
21          Q. The job you had before you started             21
22    working for Blue Bank was unrelated to Mezerhane,       22
23    the father?                                             23
24         A. None.                                           24
25          Q. When was the last time you spoke with          25


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               INTERPRETED PROCEEDINGS                           THE STATE OF FLORIDA )
 2                                                               COUNTY OF MIAMI-DADE )
 3     THE STATE OF FLORIDA )
 4     COUNTY OF MIAMI-DADE)
 5
 6
 7       I, the undersigned authority, certify that
 8     Edgar Chacon personally appeared before me and            I, the undersigned authority, certify that
 9     was duly sworn/affirmed on the 2nd day of                 Carlos Julio Caridad Zambrano personally
10     February, 2018.                                           appeared before me and was duly sworn on the
11                                                               2nd day of February, 2018.
12                                                               Signed this 27th day of February, 2018.
13     Signed this 27th day of February, 2018.
14
15
16
17
18     _________________________________
       Aurora C. Sloan, FPR
19      Notary Public - State of Florida
        My Commission No. GG105318                                 _________________________________
20      My Commission Expires: May 23, 2021
21
                                                                   Aurora C. Sloan, FPR
22
23                                                               Notary Public - State of Florida
24                                                               My Commission No. GG105318
25                                                               My Commission Expires: May 23, 2021


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                                           Page 127                                                  Page 129
 1               CERTIFICATE OF OATH                                     CERTIFICATE OF REPORTER
                INTERPRETED PROCEEDINGS
 2                                                              THE STATE OF FLORIDA )
 3     THE STATE OF FLORIDA )                                   COUNTY OF MIAMI-DADE )
 4     COUNTY OF MIAMI-DADE)
 5
 6                                                              I, Aurora C. Sloan, Florida Professional Reporter,
 7       I, the undersigned authority, certify that             certify that I was authorized to and did
 8     Gustavo Lairet personally appeared before me             stenographically report the foregoing deposition of
 9     and was duly sworn/affirmed on the 2nd day of            Carlos Julio Caridad Zambrano, pages 4 through 125;
10     February, 2018.                                          that a review of the transcript was not requested;
11                                                              and that the transcript is a true and complete
12                                                              record of my stenographic notes.
13     Signed this 27th day of February, 2018.                  I further certify that I am not a relative,
14
15                                                              employee, attorney, or counsel of any of the
16                                                              parties, nor am I a relative or employee of any of
17                                                              the parties' attorneys or counsel connected with
18     _________________________________                        the action, nor am I financially interested in the
       Aurora C. Sloan, FPR                                     action.
19       Notary Public - State of Florida
         My Commission No. GG105318                                    DATED this 27th day of February, 2018.
20       My Commission Expires: May 23, 2021
21
22
23
24                                                                     _____________________________
25                                                                     Aurora C. Sloan, FPR


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